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                                                    10                            UNITED STATES DISTRICT COURT
                                                    11                       CENTRAL DISTRICT OF CALIFORNIA
                     LOSANGELES, CALIFORNIA 90071
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                                                    12                                 WESTERN DIVISION
                                                    13   GYRODATA INCORPORATED, a                       Case No. CV08-07897 GHK (FMOx)
                              SUITE 2100




                                                         Texas corporation,
                                                    14                                                  JOINT BRIEF RE: PARTIES'
                                                                     Plaintiff,                         CROSS MOTIONS FOR SUMMARY
                                                    15                                                  JUDGMENT OR, IN THE
                                                               vs.                                      ALTERNATIVE, PARTIAL
                                                    16                                                  SUMMARY JUDGMENT
                                                         ATLANTIC INERTIAL SYSTEMS
                                                    17   INC., a California and Delaware                Date:         July 2, 2012
                                                         corporation; et al.,                           Time:         9:30 a.m.
                                                    18                                                  Place:        Courtroom 650
                                                                     Defendants.                                      Hon. George H. King
                                                    19
                                                    20   AND RELATED COUNTERCLAIM.
                                                    21
                                                    22         Plaintiff Gyrodata Incorporated (“Gyrodata”), defendant Atlantic Inertial
                                                    23   Systems Inc. (“AIS”), and defendants BAE Systems, Inc. (“BAE Inc.”), BAE
                                                    24   Systems Controls, Inc. (“Controls”) and BAE Systems Information and Electronic
                                                    25   Systems Integration Inc. (“IESI”) (collectively the “BAE Defendants”, and
                                                    26   collectively with AIS, the “Defendants”) respectfully submit the following Joint Brief
                                                    27   on their respective motions for summary judgment or partial summary judgment.
                                                    28


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                                                     1                               DEFENDANTS’ MOTION
                                                     2   I.    DEFENDANTS’ ISSUE ONE: RECOVERY OF CONSEQUENTIAL
                                                               DAMAGES FOR BREACH OF THE T70 CONTRACT IS BARRED
                                                     3         BECAUSE THERE IS NO JUSTIFIABLE EXPECTATION OF SUCH
                                                               DAMAGES
                                                     4
                                                     5         1.     Introduction
                                                     6         In 2003, Gyrodata and AIS1 -- two sophisticated companies -- entered into a
                                                     7   contract (the “T70 contract”) for Gyrodata to pay up to $1 million in exchange for
                                                     8   AIS’s engineering services to employ best efforts to develop a prototype for a new
                                                     9   gyroscope with a size, strength and accuracy never before seen in combination.
                                                    10   D1,D2; EA308, p.6148-51.2 The T70 contract identified “goals” for the “Program,”
                                                    11   and thus the work was to be done on a “best efforts basis” because the goals “may not
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                                                    12   be achieved.” D3,D4; EA 308, p.6149. The parties expressly stated that the
                                                    13   development work “will be done . . . with no guaranty as to the results or the
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                                                    14   success of the program.” D5; EA 308, p.6149 (emphasis added).
                                                    15         Despite this language, Gyrodata seeks damages exceeding $53 million for
                                                    16   profits it expected to make had a T70 gyroscope been developed successfully back in
                                                    17   2006. D6; EA 367, p.6942. It is well settled, however, that “consequential damages
                                                    18   beyond the expectation of the parties are not recoverable.” Applied Equip. Corp. v.
                                                    19   Litton Saudi Arabia Ltd., 7 Cal.4th 503, 515 (1994). Lost profits suffered from
                                                    20   secondary transactions such as the resale of a good are only recoverable where it is
                                                    21   “obvious” the parties contemplated them. Lewis Jorge Const. Mgmt., Inc. v. Pomona
                                                    22   Unified School Dist., 34 Cal.4th 960, 972 (2004).
                                                    23         When the T70 contract unambiguously states that the “results” or “success” of
                                                    24   the best efforts development program -- the goals of which “may not be achieved” --
                                                    25   are not guaranteed, it cannot be “expected” or “obvious” the parties contemplated lost
                                                    26   1
                                                           AIS is the successor to BAE Systems Inertial Products Inc. ("BAE Inertial"), which
                                                    27   originally performed the contract. D44. To avoid confusion with the BAE
                                                         Defendants, AIS will be used to refer to the party responsible to perform the contract.
                                                         2
                                                    28     "P__" and "D__" refer to Plaintiff's Facts and Defendants' Facts in the Joint
                                                         Statement of Uncontroverted Facts. “EA” refers to the Joint Evidence Appendix,
                                                         followed by the exhibit and page number in the EA.
                                                                                                    1
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                                                     1 profits to be recoverable. The opposite is true: consequential damages cannot be
                                                     2 within Gyrodata's justifiable “expectation” when it expressly agreed to the contrary!
                                                     3         2.    The Contract is Clear and Unambiguous
                                                     4         “Summary judgment is appropriate when the contract terms are clear and
                                                     5 unambiguous, even if the parties disagree as to their meaning.” United States v. King
                                                     6 Features Entm’t, Inc., 843 F.2d 394, 398 (9th Cir. 1988).3 The T70 contract is clear
                                                     7 that the parties' expectation, at the time the contract was made, was that the result of
                                                     8 the development program was uncertain. The parties agreed not to have commercial
                                                     9 expectations based on the development of the T70: “[a]ll . . . work performed will be
                                                    10 done on a best efforts basis with no guaranty as to the results or the success of the
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                                                    11 program,” D5; EA 308, p.6149 (emphasis added), and “[l]ack of goal achievement
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                                                    12 will not affect any milestone payment . . . . Payment will be made in full for each
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                                                    13 milestone upon completion regardless of its outcome.” D7-D8; EA 308, p.6149
                                                    14 (emphasis added).
                                                    15         These terms are clear. The T70 development contract sought to meet
                                                    16 Gyrodata’s targeted specifications, but the outcome was agreed to be uncertain. What
                                                    17 distinguishes other best efforts contract cases is that the T70 contract includes express
                                                    18 language to disavow the parties' expectations of future success, thereby precluding
                                                    19 any understanding acknowledging the potential recovery of hoped-for profits in the
                                                    20 event of failure.4See Merritt-Campbell Inc. v. RxP Products, Inc., No. 3:96-CV-1396-
                                                    21 AH, 1997 WL 376048, at *3 & n.5 (N.D. Tex., June 30, 1997) (granting summary
                                                    22 judgment because hopes do not equate to a reasonable certainty required to award lost
                                                    23
                                                    24   3
                                                           “When a contract has been reduced to writing, a court must ascertain the parties’
                                                         intent from the writing alone, if possible.” Yount v. Acuff Rose-Opryland, 103 F.3d
                                                    25   830, 836 (9th Cir. 1996).
                                                         4
                                                    26     None of the cases cited by Gyrodata showing lost profits damages on a best efforts
                                                         contract involve a contract expressly disclaiming any guarantee of success. See,
                                                    27   Gyrodata Opp., p.6; Marsu, 185 F.3d 932 (9th Cir. 1999) (production of 13 films
                                                         required, then best efforts to promote); Milgard, 902 F.2d 703 (9th Cir. 1990) (not a
                                                    28   best efforts contract; results guaranteed); Claredi, 2010 WL 1257946 (E.D. Mo.)
                                                         (best efforts to sell an existing product).
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                                                     1 profits). Saying “no guaranty of results” is simply a non-lawyer’s way of saying “no
                                                     2 expectation of consequential damages.”
                                                     3         3.     The T70 Contract Precludes Lost Profits Damages
                                                     4         Contract damages are limited to those within the contemplation of the parties
                                                     5 when the contract was entered into or at least foreseeable by them at that time;
                                                     6 consequential damages beyond the expectation of the parties are not recoverable.
                                                     7 Lewis Jorge, 34 Cal.4th at 969. “This limitation on available damages serves to
                                                     8 encourage contractual relations and commercial activity by enabling parties to
                                                     9 estimate in advance the financial risks of the enterprise. . . . [I]t is appropriate to
                                                    10 enforce only such obligations as each party voluntarily assumed, and to give him only
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                                                    11 such benefits as he expected to receive; this is the function of contract law.” Litton, 7
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                                                    12 Cal.4th at 515, 517 (emphasis added).
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                                                    13         The T70 contract confirms the commercial expectations of the parties. The
                                                    14 parties did not “estimate in advance,” nor did Defendants “voluntarily assume,” the
                                                    15 risk of responsibility for Gyrodata’s hoped-for $53 million in profits. Nor did
                                                    16 Gyrodata contract for the corresponding benefit, i.e., to receive such profits in the
                                                    17 event of failure. No reasonable person could read the T70 contract and conclude that
                                                    18 Defendants expected to “voluntarily assume” the financial risk of mega-millions of
                                                    19 damages in the event it did not successfully develop this nonexistent T70 gyroscope.5
                                                    20         This agreement to use best efforts, with explicit language of no guarantee of
                                                    21 success, is analogous to an agreement to negotiate a contract; the proper inquiry is not
                                                    22 whether the hoped-for outcome was obtained, but whether the attempt was made in
                                                    23 good faith. Such agreements to negotiate are enforceable, Copeland v Baskin
                                                    24   5
                                                          Another problem with Gyrodata’s T70 damages claim is that the T70 contract was a
                                                    25   development contract, not a manufacturing contract. Contracts for development of a
                                                         new product (such as the T70) do not anticipate lost profits. See, e.g., Opto Generic
                                                    26   Devices, Inc. v. Air Products & Chemicals, Inc., 2010 WL 454986 at *4 (N.D.N.Y.
                                                         2010). The contract provides that AIS was not required to manufacture the T70
                                                    27   gyros; it contains only an option to manufacture if the development program was
                                                         successful. D9, EA 308, p.6149. Plaintiff’s expert, John Casparro, who wrote the
                                                    28   T70 contract, conceded that there was no production obligation under the contract.
                                                         Casparro Tr., 12/19/11, 195:1-9, 224:25-225:12, 231:16-19.
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                                                     1 Robbins USA, 96 Cal.App.4th 1251 (2002), but plaintiff is limited, as a matter of law,
                                                     2 to out-of-pocket damages. “The plaintiff cannot recover for lost expectations
                                                     3 (profits) because there is no way of knowing what the ultimate terms of the
                                                     4 agreement would have been or even if there would have been an ultimate agreement."
                                                     5 Id. at 1262-63. The same is true for the T70 contract. The parties agreed to use best
                                                     6 efforts, but further agreed not to assume best efforts will lead to a viable result.
                                                     7 Damages are properly limited to out-of-pocket costs (e.g., the payment for AIS’s
                                                     8 engineering services).
                                                     9         Here, disclaimer of expectations is written into the contract. Consequential
                                                    10 damages were expressly not an expected benefit of the T70 contractual bargain.
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                                                    11         PLAINTIFF’S RESPONSE: GYRODATA’S LOST PROFITS WERE
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                                                               FORESEEABLE AND RECOVERABLE
                                                    12
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                                                    13         The “best efforts/no guarantee” provisions of the T70 contract shield
                                                    14 Defendants from the inherent challenges of aerospace engineering, not from their
                                                    15 own incompetence, laziness and dishonesty.
                                                    16         1.     Gyrodata’s profits not only were foreseeable but were foreseen
                                                    17         Lost profit damages are foreseeable when the obligor is “‘advised of the facts
                                                    18 concerning special harm which might result’ from breach ….” Lewis Jorge, 34 Cal.
                                                    19 4th at 969. All knew that the sole purpose of the T70 contract was to produce an
                                                    20 improved gyroscope for use in profit-generating services. Uttecht Decl., ¶ 40 (EA 11,
                                                    21 p. 874).6 The $9.5 million worth of T70s to be sold to Gyrodata under the contract
                                                    22 would be placed into tools, each of which would produce hundreds of thousands to
                                                    23 millions of dollars in revenue. Id., ¶ 8 (EA 11, pp. 860-61). John Casparro authored
                                                    24 the T70 contract for BAE and testified that because Gyrodata’s and BAE’s
                                                    25
                                                    26   6
                                                         Objections to a declaration filed in opposition to a motion for summary judgment
                                                       “must be precise” and must “specify which parts of the … [declaration] should be
                                                    27 stricken and why.” Nielsen v. Trofholz Techs., Inc., 750 F. Supp. 2d 1157, 1161
                                                       (E.D. Cal. 2010), aff’d, 2012 WL 689948 (9th Cir. Mar. 5, 2012). Defendants’
                                                    28 unfocused and conclusory complaints fail to meet these strict requirements and
                                                       should therefore be ignored.
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                                                     1 relationship was mature, BAE understood that (1) Gyrodata’s tools used gyros to
                                                     2 repeatedly lease to the oil and gas industry for profit, (2) the market for T70 was huge
                                                     3 and (3) a shortage of gyroscopes or defective gyroscopes would lead to lost profits.
                                                     4 Casparro Tr. (10/20/09), 20:1-25, 21:14–23:1, 29:3-12, (12/19/11) 299:5–301:12.
                                                     5 Defendants’ documents also show that they understood that Gyrodata: (1) earned
                                                     6 $100 million annually by re-using the gyroscopes they purchased in a service
                                                     7 business, (2) would create “huge savings” for its customers (up to $115,000 per well)
                                                     8 by using the T70-based GWD tool and (3) would need approximately 3,700 T70s to
                                                     9 capture 85% of the multi-billion measurement-while-drilling market with the T70.
                                                    10 EA 2, pp. 119, 121, 123; EA 140, pp. 2623, 2622; EA 384, p. 7111 at item 1.
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                                                    11         2.    The T70 contract also anticipated profit
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                                                    12         A “best efforts” contract requires diligence, the absence of misfeasance or
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                                                    13 nonfeasance and the same vigor the obligor uses while pursuing its own like interests.
                                                    14 Bloor v. Falstaff Brewing Corp., 601 F.2d 609, 612-15 (2d Cir. 1979) (Friendly, J.).
                                                    15 The T70 contract was reviewed by the same BAE lawyers who wrote “no
                                                    16 consequential damages” provisions into the failed ST&Cs, yet it contains no such
                                                    17 language. Casparro Tr. (10/20/09), 162:3-18. Defendants mischaracterize the T70
                                                    18 contract as a $1-million7 research project to accomplish the metamorphosis from
                                                    19 “best efforts” into “no consequentials.”      The contract required delivery of three
                                                    20 prototypes meeting 14 minimum requirements. EA 308, pp. 6149 at ¶ 2, 6148; EA 2,
                                                    21 pp. 119. Only four of 18 T70 requirements were “design goals,” and even those goals
                                                    22 often stated minimum requirements. EA 308, p. 6148. BAE Systems told Gyrodata
                                                    23 it would spend its own money to develop the T70 to create a gyro for the aerospace
                                                    24 industry, and Gyrodata was acquiring exclusive wellbore rights for its $1 million
                                                    25 share of funding. Uttecht Decl., ¶ 15 (EA 11, pp. 862-63); Klopp Decl., ¶ 7 (EA 8,
                                                    26
                                                    27   7
                                                         Defendants juxtapose Gyrodata’s $53 million of damages with its portion of the T70
                                                       budget. Gyrodata (and BAE) expected it could make millions of dollars with the
                                                    28 T70; the actual damages from failure happened to be $53 million. The foreseeability
                                                       standard is the same whether lost profits are $530,000 or $53 million.
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                                                     1 pp. 830-31). If the T70 exceeded its budget, BAE Systems was still obligated to
                                                     2 produce the prototypes. Casparro Tr. (10/20/09), 32:8–33:13, 206:22–207:20; EA
                                                     3 405, pp. 7465-66. “Best efforts” meant the company would commit to the project
                                                     4 regardless of short-term financial burden and do everything possible to ensure its
                                                     5 success. Persico Tr. (10/21/09), 23:6-17; 22:19-23; Hoffman Tr. (11/11/09), 57:4-13.
                                                     6 Unlike the contract in Opto Generic Devices, which contained “no indication
                                                     7 whatsoever” that production was intended, the T70 contact contemplated production,
                                                     8 leaving open only whether BAE or Gyrodata would produce it. 2010 WL 454986, at
                                                     9 *4. Once the T70 was prototyped, BAE Systems would sell it “in quantities of 100
                                                    10 units,” with the “first 1,000” units to be sold at a discounted price of “$9,000 to
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                                                    11 $9,500,” and BAE estimated it would sell $19 million worth of T70s in the first four
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                                                    12 years of production ― and thousands would be sold to Gyrodata. EA 2, pp. 123, 107;
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                                                    13 EA 308, p. 6150 at ¶¶ 6, 10. If BAE elected not to build the T70, Gyrodata could
                                                    14 manufacture and use the sensor. EA 308, p. 6149 at ¶ 5. It would have done so and
                                                    15 has manufactured other gyroscopes successfully in the past. Uttecht Decl., ¶¶ 15, 41,
                                                    16 44 (EA 11, pp. 862-63, 874-75, 876-77).
                                                    17         3.    Lost profits are routinely awarded in best efforts cases
                                                    18         Whether written into their text or not, all best efforts contracts imply that
                                                    19 despite best efforts, the obligor may not succeed. Baron Fin. Corp. v. Natanzon, 509
                                                    20 F. Supp. 2d 501, 510-11 (D. Md. 2007). Yet, lost profits are routinely awarded in
                                                    21 best efforts contract cases. Marsu, B.V. v. Walt Disney Co., 185 F.3d 932, 936-38
                                                    22 (9th Cir. 1999) (failure to promote Marsu character); Milgard Tempering, Inc. v.
                                                    23 Selas Corp. of Am., 902 F.2d 703, 711 (9th Cir. 1990) (failed glass furnace
                                                    24 development); Claredi Corp. v. SeeBeyond Tech. Corp., No. 4:04CV1304 RWS,
                                                    25 2010 WL 1257946, at *5-6 (E.D. Mo. Mar. 26, 2010) (failure to market software;
                                                    26 applying California law).
                                                    27         None of the authorities Defendants cite support the motion. Lewis Jorge does
                                                    28 not set an obviousness requirement; it holds that in contracts such as the one at bar,

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                                                     1 foreseeability of lost profit is an obvious result: “[t]he likelihood of lost profits from
                                                     2 related or derivative transactions is so obvious in these situations that the breaching
                                                     3 party must be deemed to have contemplated them at the inception of the contract.”
                                                     4 Lewis Jorge Constr. Mgmt., 34 Cal. 4th at 972 (emphasis added). Litton is a
                                                     5 “contort” case that never discusses or applies contract foreseeability standards. 7 Cal.
                                                     6 4th at 515. Defendants borrow from inapplicable Texas “new business” cases and the
                                                     7 law of agreements to negotiate, when the parties here negotiated for and agreed upon
                                                     8 a binding contract. It is nonsensical to claim that Gyrodata entered the contract
                                                     9 expecting nothing in return; rather, “[it] is presumed that lost profits are the type of
                                                    10 damages that are within the contemplation of the parties where the object of the
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                                                    11 contract is profit.” Civic Center Drive Apartments Ltd. P’ship. v. Sw. Bell Video
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                                                    12 Servs., 295 F. Supp. 2d 1091, 1109 (N.D. Cal. 2003). “Whether damages arising
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                                                    13 from a breach of contract were reasonably foreseeable is a question of fact.” Id. at
                                                    14 1107. Ample facts show that it was foreseeable that if BAE was lazy, incompetent,
                                                    15 or dishonest, Gyrodata could lose millions.
                                                    16 II.     DEFENDANTS’ ISSUE TWO: CONSEQUENTIAL DAMAGES ON THE
                                                               T70 CONTRACT AND FRAUD CLAIMS ARE BARRED BECAUSE
                                                    17         PLAINTIFF CANNOT PROVE CAUSATION
                                                    18         It is axiomatic that a plaintiff can only recover damages that were caused by a
                                                    19 defendant’s conduct. McDonald v. John P. Scripps Newspaper, 210 Cal.App.3d 100,
                                                    20 104 (1989). “Damages which are speculative, remote, imaginary, contingent or
                                                    21 merely possible cannot serve as a legal basis for recovery.” Id. at 104.
                                                    22         To prove causation of consequential damages, Gyrodata must prove that had
                                                    23 Defendants used best efforts, AIS would have successfully developed a T70
                                                    24 gyroscope built to the specification in Table 1 of the contract. Samica Enterprises,
                                                    25 LLC v. Mail Boxes Etc. USA, Inc., 637 F.Supp.2d 712, 718 (C.D. Cal. 2008). The
                                                    26 T70 contract specifications, inter alia, describe a dual-rate gyroscope, i.e., capable of
                                                    27 measuring angular displacement at two different rates: 50°/sec. (“low rate”) and
                                                    28 300°/sec. (“high rate”). D10; EA308, p.6148. Gyrodata has tried to develop such a

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                                                     1 dual rate gyroscope since 2008 but has not succeeded to date. D11; Brosnahan Tr.
                                                     2 4/28/10, 170:5-171:3. Gyrodata points to its 2010 "development" of the MXY
                                                     3 gyroscope as evidence that “it can be done.” But the MXY is not a dual-rate
                                                     4 gyroscope; it undisputedly does not meet the T70 high rate specification, or even
                                                     5 have a high rate capability. D12; Brosnahan Tr., 12/22/11, 230:11-21.8 Gyrodata
                                                     6 can offer no admissible evidence that any commercially available gyroscope
                                                     7 (including the G7) exists that meets the T70 dual-rate specification. D13; EA 482,
                                                     8 p.8451-52. Gyrodata’s attempt to brush off the high-rate requirement should be
                                                     9 rejected; the T70 contract is unambiguous in its requirement of dual-rate capability,
                                                    10 and Gyrodata’s repeated references to “the T70” and “a T70” throughout its
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                                                    11 pleadings is inconsistent with its belated theory (Gyrodata Opp., p.11) that the T70
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                                                    12 contract requires multiple gyroscopes (rather than different versions of the same
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                                                    13 gyroscope).
                                                    14         Gyrodata has not presented any competent evidence that better efforts by AIS
                                                    15 would have resulted in a dual-rate gyroscope that meets the T70 specifications.
                                                    16 Gyrodata has not designated an expert on this topic. Cursory, naked opinions that the
                                                    17 T70 is feasible do not suffice. United States v. Various Slot Machines on Guam, 658
                                                    18 F.2d 697, 700-01 (9th Cir. 1981) (expert opinions not based on specific facts
                                                    19 insufficient to create issue for trial). Without such evidence of causation, summary
                                                    20 judgment should be granted. Samica, 637 F. Supp.2d at 718 (granting summary
                                                    21 judgment on best efforts contract because plaintiff did not offer evidence that better
                                                    22 efforts would have produced different outcome); see also, Nat'l Data Payment Sys.,
                                                    23 Inc. v. Meridian Bank, 212 F.3d 849, 854 (3rd Cir. 2000); Cal. Civ Code § 3301.
                                                    24 Gyrodata’s fraud and tortious interference claims fail for the same reason.
                                                    25         PLAINTIFF’S RESPONSE: DEFENDANTS’ FAILURE TO USE BEST
                                                               EFFORTS CAUSED LOSS
                                                    26
                                                    27   8
                                                        The MXY is also not a miniaturized T100 gyro, but a G-2000 gyro, something that
                                                    28 Defendants could never have used for development purposes, because this gyro is
                                                       owned by Litton/Northrop Grumman. D14, D15.
                                                                                                   8
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                                                     1         Like the defendants in Marsu, BAE used abysmal or no efforts. Four former
                                                     2 BAE employees conceded that the company did not use best efforts. Casparro Tr.
                                                     3 (10/20/2009), 114:3–115:1, 89:2-23, 92:16-23, 94:10–95:2, 97:17–98:10, 98:19–99:9,
                                                     4 103:19–104:6, 105:6–106:18, 109:19–110:15, 113:4-20, 118:8–119:12, 120:8–123:8,
                                                     5 124:5-17, (12/19/11) 44:24–45:13, 54:3-9, 84:17–85:1, 145:22–146:6, 271:2-22;
                                                     6 Golden Tr. (9/23/09), 252:16–254:14, (1/6/12) 50:1-5, 50:18–51:12, 52:22–53:17,
                                                     7 62:1-18, 70:4-11; Hoffman Tr. (11/11/09), 146:16-23, 147:11-17, 151:2-10, 154:24–
                                                     8 155:9, (12/15/11) 230:20-25, 237:14-32, 285:1-23, 296:7-16, 297:4-15, 303:12-17;
                                                     9 Persico Tr. (10/21/09), 33:18–40:20, 40:25–42:23, 45:12–46:14, 53:14–54:12, 55:2-
                                                    10 14, 56:8-13, 70:1–71:1, 78:21–79:15, 81:18–83:11.        From 2003 to 2005, BAE
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                                                    11 pursued a design that its own employees warned would fail. EA 11, pp. 997-1018;
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                                                    12 EA 11, pp. 1177-78. It did. EA 11, p. 998. The project was incompetently managed,
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                                                    13 engineers were diverted, only one-third to one-half of budgeted time was spent on the
                                                    14 project and it often languished on the shelf for months. EA 11, pp. 1192-1205; EA
                                                    15 11, p. 1242; Persico Tr. (10/21/09), 37:12–40:20. Every engineer originally assigned
                                                    16 to the project was terminated due to “corporate restructuring,” which Defendants
                                                    17 confessed would keep them from finishing the T70. EA 2, pp. 603-04; EA 11, pp.
                                                    18 1150-71. Instead of admitting the fact, the T70 project was “transitioned” to a
                                                    19 Cheshire group that Defendants knew could not do the work and was itself set to be
                                                    20 gutted. EA 11, pp. 1212-39; EA 11, pp. 1240-57; EA 11, pp. 1270-72. There, the
                                                    21 work received “low” or “no” priority; workers conceded that the company was
                                                    22 “keeping secrets” that would “bite us in the buttocks” and “at this rate we will never
                                                    23 have a T70.” EA 11, pp. 1258-69; EA 11, pp. 1273-1301. When asked to assemble
                                                    24 proof of “best efforts” in 2006, the T70 program manager responded that the timeline
                                                    25 was “very ugly” and withheld it from Gyrodata. EA 407, pp. 7497-504; EA 408, p.
                                                    26 7506; EA 409, pp. 7508-09 Four and one-half years and five program managers into
                                                    27 the development, Defendants were only 29% complete. McDonough Tr. (1/20/12),
                                                    28 104:19–106:20.     Unabashed, in 2008, Defendants asked for $2 million more in

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                                                     1 funding while privately conceding that they lacked the “bandwidth” to do the job.
                                                     2 Uttecht Decl., ¶ 69 (EA 11, p. 892); EA 11, p. 1327.
                                                     3         Ample evidence shows Defendants would have finished the T70 had they used
                                                     4 best efforts. Casparro Tr. (10/20/2009), 115:25–116:24, 169:24–170:8; Hoffman Tr.
                                                     5 (11/11/09), 155:11-19, (12/15/11) 311:13–313:11; Persico Tr. (10/21/09), 83:12–
                                                     6 84:14; Kohler Tr. (4/8/10), 9:15-21, 161:24–168:17; EA 370, pp. 7022-35; Uttecht
                                                     7 Decl., ¶¶ 38-39, 41 (EA 11, pp. 873-74, 874-75). BAE assured itself that the T70 was
                                                     8 doable before signing the contract and later assured Gyrodata of the same. Casparro
                                                     9 Tr. (10/20/09), 37:2–38:7, 44:15–45:6; EA 11, pp. 1100-08.             BAE’s former
                                                    10 employees have over 165 years of gyro engineering and development experience and
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                                                    11 relied on articulated facts, including Condor’s long history of successful engineering
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                                                    12 development, its track record in other, more complex projects and a comparison of
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                                                    13 then-existing gyroscopes to the T70. Casparro Tr. (10/20/2009), 9:6–12:13, 115:4-
                                                    14 24, (12/19/11) 37:25–43:12, 218:2-23, 37:3-14; Golden Tr. (9/23/09), 7:6–10:13,
                                                    15 (1/6/12) 341:22–342:18; Hoffman Tr. (11/11/09), 56:24–57:10, (12/15/11) 220:10–
                                                    16 223:1; Persico Tr. (10/21/09), 7:20–10:10, 21:21–23:17, (1/4/12) 281:17–282:18,
                                                    17 284:24–285:23, 311:10–313:21, 317:20–318:11. Another gyro, the Litton G-7, had
                                                    18 already achieved T70 performance by the 1980s but was commercially unavailable.
                                                    19 Hoffman Tr. (11/11/09), 62:6-25; Brosnahan Tr. (9/11/09), 30:4-13; Golden Decl.,
                                                    20 ¶ 21 (EA 6, p. 709); Uttecht Decl., ¶ 38 (EA 11, p. 873). Gyrodata met the T70
                                                    21 specification by developing an MXY gyro that has been used since September 2010
                                                    22 to earn millions in profit. Uttecht Decl., ¶ 41 (EA 11, pp. 874-75); Golden Decl.,
                                                    23 ¶¶ 22-23 (EA 6, pp. 709-10). An expert need not exhaustively detail the factual basis
                                                    24 for his or her opinions in an affidavit opposing summary judgment. Kauffman v.
                                                    25 Manchester Tank & Equip. Co., 203 F.3d 831, D.C. No. CV-96-05060-FDB, 1999
                                                    26 WL 1103357, at *3 (9th Cir. Dec. 3, 1999). Even so, Gyrodata’s expert, Mr. Kohler,
                                                    27 did. In addition, such opinions are freely admissible when made by a party opponent.
                                                    28 United States v. Bakshinian, 65 F. Supp. 2d 1104, 1109 (C.D. Cal. 1999); Wells

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                                                     1 Fargo Bank, N.A. v. LaSalle Nat’l Bank. Assn., No. 2:08-CV-1448 JCM (RJJ), 2011
                                                     2 WL 6300948, at *6 (D. Nev. Dec. 15, 2011) (FED. R. EVID. 801(d)(2) applicable to
                                                     3 former employees).      Historic success by product creators like Condor routinely
                                                     4 supports lost profit awards. Humetrix, Inc. v. Gemplus S.C.A., 268 F.3d 910, 919 (9th
                                                     5 Cir. 2001).
                                                     6         The T70 contract did not call for a combination high/low rate gyroscope; it
                                                     7 called for a low rate, high accuracy model (used in the X/Y axis for wells of
                                                     8 inclinations up to 70°), and a second high rate model (added to the low rate T70 for
                                                     9 wells of 70 to 90° of inclination). EA 495, p. 8653; EA 447, pp. 7798-99; Golden
                                                    10 Decl., ¶¶ 19-20 (EA 6, pp. 708-09); Uttecht Decl., ¶ 39 (EA 11, pp. 873-74);
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                                                    11 Hoffman Tr. (11/11/09), 36:7–37:6. Further, perfect accomplishment of the
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                                                    12 specifications was not required; any significant advance in the “low rate, high
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                                                    13 accuracy” model would have permitted Gyrodata to climb the inclination ladder,
                                                    14 increase its market share, and make millions in profit. Uttecht Decl., ¶ 39 (EA 11, pp.
                                                    15 873-74); EA 365, pp. 6929-34. The “high rate” version of the T70 is now met by
                                                    16 other available gyros in the market that Gyrodata couples with the MXY gyroscope to
                                                    17 access the whole market. Uttecht Decl., ¶¶ 34-36 (EA 11, pp. 871-73); Golden Decl.,
                                                    18 ¶¶ 22-23 (EA 6, pp. 709-10). Gyrodata is now field testing such a highly accurate
                                                    19 unit to reach the 70 to 90º market. Id. Causation is a fact question. Dawson v.
                                                    20 Toledano, 109 Cal. App. 4th 387, 402 (2003). Defendants have merely located cases
                                                    21 in which the plaintiffs had no proof. See Samica, 637 F. Supp. 2d at 717-18;
                                                    22 Meridian Bank, 212 F.3d at 854.
                                                    23 III.    BAE DEFENDANTS' ISSUE THREE: THE CLAIM FOR BREACH OF
                                                               THE T70 CONTRACT AGAINST BAE INC. IS BARRED
                                                    24
                                                    25         Although the T70 contract names "BAE Systems" "BAE Systems" is not the
                                                    26 name of any incorporated legal entity and there are 17 other corporations beginning
                                                    27 with these two words, besides the three BAE Defendants. (D24, EA2, pp. 10 fn.2,
                                                    28 46-49). Original drafts of the T70 contract referred to Condor Pacific Industries, Inc.

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                                                     1 ("CPI"), not "BAE Systems.". (D27, 29-31, EA481, pp. 8403, 8406, EA175, pp.
                                                     2 3161-62, EA271, pp. 5294-5295, EA2, pp. 28, 633, 631-33). The same term -- "BAE
                                                     3 Systems" -- was used in most other T100 purchase orders, but Gyrodata concedes that
                                                     4 its T100 purchase orders were with BAE Systems Inertial Products, Inc. ("BAE
                                                     5 Inertial," which is now called "AIS").9
                                                     6         Another contradiction in Count I is that the SAC ¶7 defines "BAE Systems,
                                                     7 Inc." as "BAE Systems" and then proceeds, in Count I, to seek damages solely
                                                     8 against AIS and "BAE Systems" (i.e. BAE Systems, Inc.) for breach of the T70
                                                     9 contract. (D16-19, EA481, pp. 8403, 8407, 8421). But the SAC attempts, in the
                                                    10 alternative, to allege that each BAE Defendant also tortiously interfered with the T70
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                                                    11 contract (SAC, Count V). These claims are contradictory and cannot both survive
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                                                    12 summary judgment.10
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                                                    13         In addition, the T70 timeline, from negotiation, to contract formation, through
                                                    14 performance, also shows that the only two parties to this contract were BAE Inertial
                                                    15 and Gyrodata. See CAL. CIV. PROC. CODE § 1856; CAL. COM. CODE § 2202(a); Sicor
                                                    16 Limited v. Cetus Corp., 51 F.3d 848, 857 (9th Cir. 1995). The T70 contract was
                                                    17 negotiated by CPI's former program manager for Gyrodata, John Casparro, first
                                                    18 before CPI was bought and then was signed by CPI's former president, Ernie Smith,
                                                    19 once CPI was renamed BAE Inertial. (D31-36, 42, EA2, pp. 9-11, 21, 24-28, 59).
                                                    20 CPI/BAE Inertial was sold in 2007 and is now known as AIS. (D44, EA2, pp. 18,
                                                    21 633; EA339, p. 6294). Pursuant to BAE Inertial's invoices for T70 development,
                                                    22 Gyrodata paid CPI/BAE Inertial, not any other BAE entity, for both T70 development
                                                    23
                                                    24   9
                                                          Plaintiff should be judicially estopped from arguing that the BAE Defendants were
                                                         parties to the T70 contract, because Plaintiff agrees that the T100 P.O.s were with
                                                    25   BAE Inertial/AIS, not the BAE Defendants. (D48, EA481, p. 8413).
                                                         10
                                                    26      See Rachford v. Airline Pilots Ass'n, 2006 WL 1699578, at *5-6 (N.D.Cal. 2006);
                                                         see also Litton, 7 Cal.4th at 514. In Count I of the SAC, Plaintiff named only
                                                    27   defendants AIS, and BAE Systems, Inc., (defined in SAC¶7 as "BAE Systems") and
                                                         did not name defendants IESI and Controls. Plaintiff should thus be barred from now
                                                    28   changing its theory to argue that all three BAE Defendants were parties to the T70
                                                         contract together with AIS.
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                                                     1 and T100 deliveries. (D43, EA176, p. 3164, EA216-8, pp. 3392, 3396-9, EA515, p.
                                                     2 8921, EA513, pp. 8916-17). Gyrodata continued to deal with AIS (not any BAE
                                                     3 Defendant) on T70 development and T100 deliveries after Inertial Products was sold.
                                                     4 (D44-47, EA2, p. 18, EA211, p. 3371).11 Plaintiff also sent to AIS proposed draft
                                                     5 agreements regarding T70 development that expressly stated that its original 2003
                                                     6 T70 contract was with "BAE Systems Inertial Products Inc." (now AIS), and not with
                                                     7 BAE Inc. (D47, EA340, p. 6297-6333).12 Plaintiff offers no competent evidence to
                                                     8 overcome these issues and cannot articulate any basis to hold any BAE Defendant
                                                     9 contractually liable for what was clearly BAE Inertial/AIS' T70 contract. (See also
                                                    10 Casparro 12/19/11 Tr., 9:7-10, 68:5-24, 180:14-183:11, 264:21-266:17, 187:8-19,
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                                                    11 Casparro 10/20/09 Tr., 30:19-22, 162:3-18 Persico 1/04/12 Tr., 69:6-70:12, Uttecht
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                                                    12 Tr. 12/23/11, 248:17-25, 257:9-261:17). Count I against the BAE Defendants should
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                                                    13 therefore be dismissed.
                                                    14        PLAINTIFF’S RESPONSE: EACH BAE DEFENDANT IS LIABLE
                                                              UNDER THE T70 CONTRACT
                                                    15
                                                    16        The T70 contract refers to “BAE SYSTEMS” 21 times but does not define it.
                                                    17 EA 308, pp. 6146-51; EA 79-80, pp. 1918, 1920; EA 176-77, pp. 3164-70. Not a
                                                    18 single provision limits “BAE SYSTEMS” to BAE Inertial (Inertial is not mentioned
                                                    19 by name at all). P198. BAE told Gyrodata during T70 contract negotiations that
                                                    20 “BAE Systems” was a global company and the whole BAE organization would
                                                    21 provide resources and support. Gyrodata understood the contract to apply to BAE
                                                    22 Systems as a whole. Uttecht Decl., ¶ 45 (EA 11, p. 877); Klopp Decl., ¶¶ 7, 21 (EA
                                                    23 8, pp. 830-31, 835); EA 202, p. 3342.
                                                    24        Three plausible interpretations of “BAE SYSTEMS” exist: (1) BAE Systems,
                                                    25 Inc., (2) BAE Systems Inertial Products, Inc. or (3) all named BAE Defendants (Inc.,
                                                    26
                                                         11
                                                          Each BAE Defendant is a separate corporation, not affiliated with AIS and without
                                                    27 any ownership interest in AIS. (See D20-26, D35, EA2, p. 31-40).
                                                       12
                                                    28    Plaintiff's opposing argument that repair/manufacturing license negotiations are
                                                       inadmissible under R. 408 lacks support.
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                                                     1 Controls, IESI and Inertial).      Contemporaneous presentations on the Condor
                                                     2 acquisition used “BAE SYSTEMS” to describe BAE Systems North America (now
                                                     3 Inc.), the Controls Sector, IESI Sector and all 21,000 US employees. EA 17, pp.
                                                     4 1396-42. Use of the phrase “BAE SYSTEMS” is not surprising since BAE operated
                                                     5 as a “single integrated company” without regard to corporate names and company
                                                     6 policy defined “BAE SYSTEMS” to include the parent and all sectors, business units,
                                                     7 and subsidiaries. Siegel Tr. (11/16/09), 23:13-15; 21:7–22:23; EA 150, p. 2953; EA
                                                     8 128, p. 2508 (“There is One BAE Systems ….              ‘BAE Systems Inc.’ is that
                                                     9 organization’s legal (not communicative) name …. Our business name is … E&IS
                                                    10 … Lines of business, including Platform Solutions … are administrative divisions
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                                                    11 …”); see also P208-P214.
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                                                    12        Ernie Smith signed the T70 contract for “BAE Systems.” EA 79-80, pp. 1918,
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                                                    13 1920. Smith was part of the “BAE Systems North America Controls Sector.” EA 17,
                                                    14 p. 1400. HR records show that Smith and Casparro both worked for “BAE Systems-
                                                    15 PSS-CPI” (short for Platform Solutions Sector). EA 151, p. 2966; EA 497, p. 8659;
                                                    16 EA 151, p. 2961. “Platform Solutions” was part of Controls and reported to BAE
                                                    17 Systems, Inc. Demars Tr. (11/4/09), 36:16-18; Siegel Tr. (11/16/09), 20:4–23:19.
                                                    18 Casparro, who wrote the contract, testified the T70 contract was not limited to a
                                                    19 single BAE entity; it applied to the BAE Systems “group that bought Condor.”
                                                    20 Casparro Tr. (12/19/11), 63:1–64:12; 215:15-18, 254:25–255:4. There is conflicting
                                                    21 evidence as to whether Condor was acquired by BAE Systems North America (now
                                                    22 Inc.) or BAE Systems Aerospace, Inc. (now IESI). EA 88, p. 2053; P201; see also
                                                    23 Plaintiff’s Resp. to D35-36.
                                                    24        Ambiguity as to contract terms and identity of parties presents a fact question
                                                    25 for the jury. Cf. Morey v. Vannucci, 64 Cal. App. 4th 904, 914 (1998) (fact question
                                                    26 where contract did not define “affiliated entities”); Babul v. Golden Fuel, Inc., 990
                                                    27 So. 2d 680, 683-84 (Fl. Ct. App. 2008) (summary judgment reversed where contract
                                                    28 used business name but did not specify legal entity); CAL CIV. CODE § 1654

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                                                     1 (uncertainty resolved against contract drafter — here BAE). Given the ambiguity,
                                                     2 Gyrodata understandably pled in the alternative. FED. R. CIV. P. 8(d). If the jury
                                                     3 finds all BAE defendants are parties, there will be no need to submit an interference
                                                     4 claim. For any non-contracting parties, interference applies.
                                                     5         There is conflicting evidence on course of performance.13 Gyrodata was told
                                                     6 that multiple BAE entities, sites and personnel were working on the T70 project.
                                                     7 Uttecht Decl., ¶¶ 45, 58 (EA 11, pp. 877, 883-84); Klopp Decl., ¶¶ 21, 38 (EA 8, pp.
                                                     8 835, 840). Over a dozen employees involved in T70 (Smith, Casparro, Siegel,
                                                     9 Marinello, Kanner, White, Cox, Demmons, Gwyn, McDonough, Anderson, Persico,
                                                    10 Arlievsky, Vikjaer, Thaisz, and Melnyk)14 worked for entities other than Inertial
                                                    11 Products, Inc. See Esparza Decl., Ex. A, Tabs 1-16.15 (EA 502, pp. 8670-6).
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                                                    12 Numerous emails, meeting minutes, presentations, letters, and reviews relating to T70
                              SUITE 2100




                                                    13 were sent using the names of the BAE Defendants. P195-P217.
                                                    14 IV.     DEFENDANT AIS’S ISSUE FOUR: PLAINTIFF’S CLAIM FOR
                                                               BREACH OF THE T100 CONTRACTS IS BARRED BY APPLICABLE
                                                    15         UCC PROVISIONS
                                                    16         1.    Introduction and Background Facts
                                                    17         Gyrodata’s Second Claim alleges that AIS’s untimely deliveries of T100
                                                    18 gyroscopes breached six different contracts at least 26 times over a span of 47
                                                    19 months. D49. By Gyrodata’s own admission, however, it continued to issue
                                                    20 successive purchase orders for the same product, year after year, notwithstanding that
                                                    21 AIS was allegedly in near-constant breach of earlier purchase orders. D50. After
                                                    22 every late delivery of T100s, Gyrodata purchased still more T100s, without ever
                                                    23
                                                         13
                                                          Gyrodata’s first two T70 payments were made to “BAE Systems/Condor Pacific,”
                                                    24 reflecting its uncertainty (BAE accepted them). P207. BAE points to inadmissible
                                                       drafts from 2008 settlement negotiations. FED. R. EVID. 408. Even if considered,
                                                    25 Gyrodata never signed or approved the drafts, and other versions listed “BAE” as the
                                                       contracting party with no indication of who changed the language.
                                                    26 14 Bonsick’s declaration contradicts sworn testimony and records. Bonsick did not
                                                       even know what BAE company he worked for or how company records designate
                                                    27 which company employees worked for. Bonsick Tr. (12/8/09), 9:4-16; 12:21–13:7.
                                                       15
                                                          The parties have stipulated to the authenticity of their own business records. The
                                                    28 Esparza Declaration merely summarizes BAE’s own records and testimony. FED. R.
                                                       EVID. 1006 (summary charts); FED. R. EVID. 801(d)(2)(A) (party admission).
                                                                                                 15
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                                                     1 explicitly claiming a breach. D51, D73; EA 005 ¶4-5, 8-9, 13-15. Gyrodata admits
                                                     2 that it tempered its complaints because it did not want to disrupt its supply of T100s.
                                                     3 D52. On these facts, Gyrodata’s T100 contract claims fail as a matter of law because
                                                     4 (1) Gyrodata did not provide adequate notice of breach to AIS within a reasonable
                                                     5 time as required by Com’l Code § 2607(3)(A), and (2) Gyrodata accepted subsequent
                                                     6 installments without objection after each allegedly untimely delivery, thereby
                                                     7 reinstating each contract and waiving any previous breach(es) pursuant to Com’l.
                                                     8 Code § 2612.
                                                     9         Of the 12 purchase orders between Gyrodata and AIS from 2000-2009, six are
                                                    10 at issue in this action (“the disputed POs”). D56. AIS delivered, and Gyrodata
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                                                    11 received and paid for, all 600 T100s ordered under the disputed POs. D57-D60.
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                                                    12 Gyrodata has added these T100s to its operating inventory of T100s used to provide
                              SUITE 2100




                                                    13 services to its customers. D61. Gyrodata admits it did not refuse T100 shipments for
                                                    14 untimely delivery. D62; EA 483, p.8460. None of Gyrodata’s payments was made
                                                    15 under protest or with reservation of rights. D63-D64; EA 005, ¶9. Following the
                                                    16 disputed POs, Gyrodata placed another order -- its largest ever -- for 168 regular
                                                    17 T100s. D65. Although Gyrodata expressed dissatisfaction with the pace of T100
                                                    18 deliveries, Gyrodata never expressed that it considered AIS to be in breach of the
                                                    19 T100 contracts or claimed AIS was responsible for any losses attributable to untimely
                                                    20 deliveries. D71-D74; EA 005, ¶10.
                                                    21         2.    Gyrodata Failed To Give Notice Of Breach Within A Reasonable Time
                                                    22         When a buyer has accepted a tender of goods, he “must, within a reasonable
                                                    23 time after he or she discovers or should have discovered any breach, notify the seller
                                                    24 of breach or be barred from any remedy.” Com’l. Code § 2607(3)(A). In interpreting
                                                    25 § 2607(3)(A), the “vast majority” of courts have taken the position that as between
                                                    26 merchants, the buyer must notify the seller not merely that he considers the
                                                    27 transaction troublesome, but that he considers the seller in breach. Eastern Air Lines,
                                                    28 Inc. v. McDonnell Douglas Corp., 532 F.2d 957, 972 (5th Cir. 1976) (applying Cal.

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                                                     1 law); see also K & M Joint Venture v. Smith Int’l., Inc., 669 F.2d 1106, 1111 (6th Cir.
                                                     2 1982) (same). The cases relied upon by Gyrodata are inapposite, as they either
                                                     3 pertain to consumer transactions involving a single sale (Stearns) or interpret Texas
                                                     4 law, which does not apply here (Kern Oil). Gyrodata Opp., p. 18.
                                                     5         Gyrodata did complain about late T100 deliveries, D71, but as a matter of law
                                                     6 its complaints do not amount to notice of breach because as it continued to place
                                                     7 T100 orders, it negated whatever notice its earlier complaints provided. Courts have
                                                     8 recognized that: “the notice requirement reconciles the seller's right to early warning
                                                     9 of claims for breach with the need to accommodate the buyer who, for reasons of
                                                    10 necessity, has to accept a tender which is not in full compliance with the contract. In
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                                                    11 a continuing contractual relationship, therefore, the buyer must decide whether the
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                                                    12 benefits of claiming a breach of contract outweigh the need for a close rapport with
                              SUITE 2100




                                                    13 the seller.” Eastern Air Lines, 532 F.2d at 979; see also K&M Joint Venture, 669
                                                    14 F.2d at 1115-1116 (“K&M, an experienced party, chose to follow a course of conduct
                                                    15 [i.e., continuing to place additional orders] which failed to inform Calweld that it was
                                                    16 claiming a breach of warranty. Under these circumstances, there is no inequity in
                                                    17 requiring it to bear the consequences of its decision.”); Cities Service Helex, Inc. v.
                                                    18 United States, 543 F.2d 1306, 1316 n. 23 (Ct. Cl. 1976).
                                                    19         AIS did not learn that Gyrodata considered it to have breached the T100
                                                    20 contracts until after Gyrodata filed its lawsuit. D76; EA 005, ¶12. Gyrodata thus did
                                                    21 not provide notice of breach until nearly four years after the first breaching deliveries,
                                                    22 which is not timely. Pollard v. Saxe & Yolles Dev’l Co., 12 Cal.3d 374, 380 (four
                                                    23 years is too late); Silvera v. Broadway Dep’t Store, Inc., 35 F.Supp.625, 626-27 (S.D.
                                                    24 Cal. 1940) (7-1/2 months is not reasonable).
                                                    25         3.     Gyrodata Waived Any Previous Breach By Acceptance
                                                    26         A party reinstates an installment contract if, inter alia, “he accepts a
                                                    27 nonconforming installment without seasonably notifying of cancellation . . ..” Com’l
                                                    28 Code § 2612(3). The notice of breach should be explicit and in writing. Cities Serv.,

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                                                     1 543 F.2d at 1316 n. 23; Masterson, Baron & LaMothe, CALIFORNIA CIVIL
                                                     2 PRACTICE BUSINESS LITIGATION, § 40:63, (Where the buyer accepts a late
                                                     3 delivery under an installment contract, failure to make a written reservation of rights
                                                     4 may be deemed a waiver of the right to object). Although Gyrodata denies it paid for
                                                     5 the T100s at issue without reservation of rights, no payments or letters express such a
                                                     6 reservation. D63-D64. Thus Gyrodata reinstated the contract on each occasion and
                                                     7 waived all claims for breach based on late delivery.
                                                     8         PLAINTIFF’S RESPONSE: REASONABLE NOTICE WAS GIVEN
                                                     9         1.    Gyrodata gave adequate notice under section 2607(3)(A)
                                                    10         California law requires only that notice under section 2607(3)(A) be
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                                                    11 “reasonable.” Cardinal Health 301, Inc. v. Tyco Elecs. Corp., 169 Cal. App. 4th 116,
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                                                    12 135 (Cal. App. 2008). Notice is sufficient if it merely “let[s] the seller know that the
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                                                    13 transaction [is] still troublesome and must be watched ….” Stearns v. Select Comfort
                                                    14 Retail Corp., 763 F. Supp. 2d 1128, 1143 (N.D. Cal. 2010) (quoting CAL. COMM.
                                                    15 CODE § 2607 cmt. 4). Notice need not be in writing. Id.; see also T.J. Stevenson &
                                                    16 Co., Inc. v. 81,193 Bags of Flour, 629 F.2d 338, 359 (5th Cir. 1980).
                                                    17         The Ninth Circuit applies section 2607’s notice requirement leniently. In Kern
                                                    18 Oil & Refining Co. v. Tenneco Oil Co., 840 F.2d 730 (9th Cir. 1988), the Ninth
                                                    19 Circuit affirmed a $32-million judgment for shortages in an oil supply contract
                                                    20 occurring over 18 months, holding that “Section 2.607’s notice requirement should
                                                    21 not be applied stringently.” Id. at 737. Since Gyrodata “married” its tool to the T100
                                                    22 gyro and was totally dependent on BAE for timely deliveries, it is important to
                                                    23 remember that courts “should not expect a married party to complain as loudly as one
                                                    24 who is free to play the field.” Id.
                                                    25         Gyrodata easily satisfied the notice requirements of section 2607(3)(A).
                                                    26 Beginning shortly after deliveries of T100s began to be late, Gyrodata told BAE/AIS
                                                    27 frequently and insistently that it was missing delivery deadlines, this was causing
                                                    28 serious problems for Gyrodata and BAE/AIS must deliver the T100 gyroscopes on

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                                                     1 time — in other words, “the transaction is still troublesome and must be watched.”
                                                     2 P219-25, 227-30, 232; Uttecht Decl., ¶¶ 46-51 (EA 11, pp. 877-80); Klopp Decl., ¶¶
                                                     3 9, 32 (EA 8, pp. 831, 838). Further, BAE/AIS knew there was a serious problem and
                                                     4 Gyrodata was upset. P226, 231, 233-39, 241, 244, 246-47.
                                                     5         Defendants pin their hopes on the Fifth Circuit’s early Erie guess that
                                                     6 California would impose a more stringent standard for notice under section
                                                     7 2607(3)(A). Eastern Air Lines, Inc. v. McDonnell Douglas Corp., 532 F.2d 957, 973
                                                     8 (5th Cir. 1976) (buyer must tell seller that its deliveries are late and that buyer
                                                     9 considers seller to have violated the contract).16 As discussed above, that guess
                                                    10 turned out to be wrong. Further, many courts outside of California have rejected the
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                                                    11 stricter standard articulated in Eastern Air Lines. See, e.g., United States v. Southern
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                                                    12 Contracting of Charleston, Inc., 862 F. Supp. 107, 110-12 (D.S.C. 1994) (denying
                              SUITE 2100




                                                    13 summary judgment and citing many cases, treatises and reasons in support of a
                                                    14 lenient notice standard). Finally, even the Fifth Circuit acknowledged that “the
                                                    15 adequacy and timeliness of notice under section 2-607 typically depend upon the
                                                    16 reasonableness of the buyer’s efforts to communicate his dissatisfaction.              …
                                                    17 [W]hether the notice requirement has been complied with is a question which is
                                                    18 particularly within the province of the jury.” Eastern Air Lines, 532 F.2d at 973. In
                                                    19 fact, the Fifth Circuit reversed a directed verdict for this very reason, noting that “the
                                                    20 conflict in evidence … and the dissatisfaction with the delays evident in several …
                                                    21 communications … are sufficient to create a jury question.” Id. at 979.
                                                    22         Even if the stricter notice standard were applicable in this case, Gyrodata
                                                    23 satisfied it easily by notifying BAE/AIS early and often that it considered late
                                                    24 deliveries to be violations of the T100 contracts. P223, 225, 232; Uttecht Decl., ¶ 49
                                                    25 (EA 11, pp. 878-79); Klopp Decl., ¶ 31 (EA 8, p. 838). BAE/AIS knew how
                                                    26
                                                    27         16
                                                                Defendants also cite K & M Joint Venture v. Smith Int’l, Inc., 669 F.2d 1106
                                                       (6th Cir. 1982), but that Sixth Circuit opinion dealt with the defective shipment of a
                                                    28 single tunnel boring machine, not late deliveries of multiple installments of goods,
                                                       and thus raises very different notice issues than this case.
                                                                                                  19
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                                                     1 Gyrodata felt. P233. At a minimum, therefore, fact issues concerning the content of
                                                     2 notice, its timing and the circumstances surrounding each communication preclude
                                                     3 summary judgment.
                                                     4         2.      Gyrodata did not waive its right to damages
                                                     5         Section 2607(2) of the California Commercial Code expressly provides that
                                                     6 “[a]cceptance does not of itself impair any other remedy provided by this division for
                                                     7 nonconformity.”       Further, section 2612(3) states:   “[A party also reinstates an
                                                     8 installment contract] if he brings an action with respect only to past installments ….”
                                                     9 (emphasis added). A contract that is reinstated remains in force; thus, Defendants’
                                                    10 position that a buyer waives damages for past installments by reinstating the contract
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                                                    11 is both illogical and textually inaccurate.
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                                                    12         The Sixth Circuit explained how section 2612(3) applies to a buyer who
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                                                    13 decides not to declare breach of the whole contract because of defects in early
                                                    14 installments:
                                                    15         Upon discovery of the defects in the early shipments, [buyer] was
                                                               entitled to insist that shipments continue on schedule and that the defects
                                                    16         be cured, i.e., that [seller] perform as agreed. And, by timely notifying
                                                               [seller under section 2607(3)(A), buyer] preserved all of its remedies …,
                                                    17         including its right to consequential damages ….
                                                    18         Plastic Moldings Corp. v. Park Sherman Co., 606 F.2d 117, 120 (6th Cir.
                                                    19 1979). Thus, giving repeated notice under section 2607(3)(A) allowed Gyrodata to
                                                    20 accept late deliveries of T100s without waiving its right to damages or requiring it to
                                                    21 declare a breach of the whole contract. Gyrodata was not required to accept late
                                                    22 deliveries “with reservation of rights”; under the U.C.C., that practice is permissive,
                                                    23 not mandatory. See CAL. COMM. CODE § 1308 cmt. 2. Similarly, giving BAE/AIS
                                                    24 repeated notice negates any notion that Gyrodata intentionally relinquished its right to
                                                    25 damages for breaches of prior orders when it ordered more gyroscopes, especially
                                                    26 when Defendants fraudulently persuaded Gyrodata to continue. See, e.g., Hartung v.
                                                    27 Pollastrini, 147 Cal. App. 2d 88, 92 (Cal. App. 1956).
                                                    28

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                                                         V.    DEFENDANTS’ ISSUE FIVE: PLAINTIFF’S FRAUD CLAIM IS
                                                     1         BARRED BY THE ECONOMIC LOSS RULE
                                                     2
                                                               1.     Introduction
                                                     3
                                                               Gyrodata alleges fraud relating to delivery of T100s and performance of the
                                                     4
                                                         T70 contract. D78. The alleged misrepresentations, however, are contractual and
                                                     5
                                                         contract-related promises between commercial merchants. The fraud claim is thus
                                                     6
                                                         barred by the economic loss rule, which precludes tort recovery for purely economic
                                                     7
                                                         loss due to disappointed contractual expectations unless the plaintiff “can
                                                     8
                                                         demonstrate harm above and beyond the broken contractual promise.” See Robinson
                                                     9
                                                         Helicopter Co. v. Dana Corp., 34 Cal.4th 979, 988 (2004).
                                                    10
                                                               The representations at issue here all surround and restate AIS’s contractual
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                                                    11
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                                                         obligations. Regarding the T70, Defendants are accused of falsely representing the
                                                    12
                                                         who (which engineers), where (which facility) and when (level of commitment,
                              SUITE 2100




                                                    13
                                                         timing of production) of performing the alleged contractual obligation to provide
                                                    14
                                                         working prototypes of a T70 gyroscope. D79-D81; EA 481, ¶44-45, 48-50, 52(b).
                                                    15
                                                         Regarding the T100, Defendants are accused of falsely representing the production
                                                    16
                                                         (which facility) and timely delivery of T100 gyroscopes. D82-D83; EA 481,
                                                    17
                                                         ¶52(a).17
                                                    18
                                                               Under California law, “conduct amounting to a breach of contract becomes
                                                    19
                                                         tortious only when it also [1] violates a duty independent of the contract arising from
                                                    20
                                                         principles of tort law” and [2] “expose[s] a plaintiff to liability for personal damages
                                                    21
                                                         independent of the plaintiff’s economic loss”. Robinson, 34 Cal.4th at 989, 993
                                                    22
                                                         (emphasis added); United Guar. Mortgage Indem. Co. v. Countrywide Fin. Corp.,
                                                    23
                                                         660 F.Supp.2d 1163, 1182-1183 (C.D. Cal. 2009).18
                                                    24
                                                    25
                                                         17
                                                         For the reasons set forth on p. 22, fn. 28, BAE Defendants join in this argument.
                                                    26   18
                                                         See also, Alvarado Orthopedic Research, L.P. v. Linvatec Corp., No. 11-CV-246
                                                    27 IEG,  2011 WL 3703192, *3 (S.D. Cal. Aug. 23, 2011); Multifamily Captive Group
                                                       LLC v. Assurance Risk Managers, Inc., 629 F.Supp.2d 1135, 1145-1146 (E.D. Cal.
                                                    28 2009); Intelligraphics, Inc. v. Marvell Semiconductor, Inc., No. C07-02499 JCS,
                                                       2009 WL 330259, *17 (N.D. Cal. Feb. 10, 2009).
                                                                                                    21
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                                                     1         Here, plaintiff fails on both counts. Gyrodata has not proven any duty owed to
                                                     2 it by any Defendant independent of the contractual responsibilities. The alleged
                                                     3 misrepresentations are merely communications and performance between two
                                                     4 commercial entities regarding their contractual obligations. Gyrodata has also not
                                                     5 presented evidence that Defendants’ fraud/breaches have exposed Gyrodata to any
                                                     6 personal damage independent of its economic losses.19 Gyrodata admitted that its
                                                     7 damages flowing from fraud are identical to the damages suffered by reason of the
                                                     8 breaches of contract. D84-85, EA 481, p.8526.
                                                     9         Plaintiff’s case is for breach of contract; no fraud claim can be maintained.
                                                    10         2.    The Economic Loss Doctrine
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                                                    11         The economic loss rule has been applied to fraud claims in California. See,
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                                                    12 e.g., Alvarado, 2011 WL 3703192, *2-3; Multifamily, 629 F.Supp.2d at 1146; Oracle
                              SUITE 2100




                                                    13 USA, Inc. v. XL Global Services,, No. C09-00537 MHP, 2009 WL 2084154, *4 (N.D.
                                                    14 Cal. July 13, 2009); Intelligraphics, 2009 WL 330259, *17.
                                                    15         The issue of application of the economic loss rule to claims for fraud in the
                                                    16 performance of a contract was addressed by the California Supreme Court in
                                                    17 Robinson, where the defendant, who was obligated by contract to supply a safety
                                                    18 mechanism, provided false certificates of conformance with manufacturing
                                                    19 specifications. Robinson, 34 Cal.4th at 985-987. The Court held that, based solely
                                                    20 “on Dana’s provision of the false certificates of conformance,” the facts gave rise to
                                                    21 an exception to the economic loss rule. Id., 34 Cal.4th at 990. “Dana’s tortious
                                                    22 conduct was separate from the breach itself, which involved Dana’s provision of the
                                                    23 nonconforming clutches. . . . We hold the economic loss rule does not bar Robinson’s
                                                    24 fraud . . . claims because they were independent of Dana’s breach of contract.” Id.,
                                                    25 34 Cal.4th at 991 (emphasis added).
                                                    26         “But the Robinson Helicopter Court did not rest its exception solely on
                                                    27   19
                                                         California law requires a plaintiff to show “personal damage” beyond its economic
                                                    28 loss to maintain a tort claim apart from a contract claim. Jimenez v. Superior Court,
                                                       29 Cal.4th 473, 483 (2002).
                                                                                                   22
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                                                     1 extraneous fraud in the certificates. Before allowing an exception, the Court noted
                                                     2 that the fraudulent safety components ‘exposed Robinson to liability for personal
                                                     3 damages if a helicopter crashed and to disciplinary action by [the FAA].’ [Citation
                                                     4 omitted.] And the Court summarized its holding as ‘narrow in scope and limited to a
                                                     5 defendant’s affirmative misrepresentations on which a plaintiff relies and which
                                                     6 expose a plaintiff to liability for personal damages independent of the plaintiff’s
                                                     7 economic loss.’ [Citation omitted.].” Countrywide, 660 F.Supp.2d at 1183 (emphasis
                                                     8 in original), citing Robinson, 34 Cal.4th at 991, 993. “The exposure to liability for
                                                     9 personal damage was key to Robinson Helicopter’s holding that the economic loss
                                                    10 rule did not bar tort remedies in that case.” Oracle, 2009 WL 2084154 at *6.
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                                                    11         3.    Defendants Did Not Have A Duty Independent of the Contracts
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                                                    12         Defendants’ alleged misrepresentations all relate to the duty to perform the
                              SUITE 2100




                                                    13 contract. They are a reiteration of contractual obligations, and the alleged breaches
                                                    14 thereof, under the T70 and T100 contracts, and thus are not actionable in fraud. See,
                                                    15 e.g., Multifamily, 629 F. Supp. 2d at 1146 (representations related to the duty to
                                                    16 perform the contract itself); Intelligraphics, 2009 WL 330259 at *17 (representations
                                                    17 were “a reiteration of the obligations that exist under the contract”); Countrywide,
                                                    18 660 F.Supp.2d at 1184 (“the alleged misrepresentations are not conceptually distinct
                                                    19 from the contract”); Oracle, 2009 WL 2084154 at *7 (no conduct independent from
                                                    20 the promises made by the parties in the course of their contractual relationship).20
                                                    21         Gyrodata alleges that Defendants made representations to keep Gyrodata
                                                    22 quiescent and to induce it to continue buying T100 gyroscopes, including
                                                    23 misrepresentations about the impact of the T100 production transfer from Westlake to
                                                    24 Cheshire, and the ability of the Cheshire facility to produce T100s. D82, D87, D96;
                                                    25 EA 481, ¶44-47. Further misrepresentations allegedly were made “regarding the T70
                                                    26   20
                                                         Moreover, an “omission to perform a contract obligation is never a tort, unless the
                                                    27 omission  is also an omission of a legal duty.” Litton, 7 Cal.4th at 515. And
                                                       regardless, the “omissions” identified by Gyrodata in its response to AIS’s
                                                    28 Interrogatory No. 4 all relate to the ability to properly perform the T70 and T100
                                                       contracts. D86; EA482, p.8437-38.
                                                                                                   23
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                                                     1 gyroscope,” including whether the T70 development approach was correct, whether
                                                     2 the engineering team would remain on the job in Westlake, when T70 prototypes
                                                     3 would be ready, and when Defendants would present Gyrodata with proof of concept
                                                     4 models. D79-81; EA 482, p.8436-38.
                                                     5         Gyrodata does not even argue that Defendants’ fraudulent acts violate a duty
                                                     6 independent of the T70 or T100 contracts; evidence of the falsity of any of the
                                                     7 alleged representations is evidence of the defendants’ breach of contractual
                                                     8 obligations to manufacture, deliver and perform under these contracts. Instead,
                                                     9 Gyrodata argues Robinson did not hold that an independent duty is necessary, but
                                                    10 rather that an intentional misrepresentation is an exception to the economic loss rule
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                                                    11 regardless whether the fraudulent conduct is related to the performance of the
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                                                    12 contract. Gyrodata Opp., p.27. Robinson itself holds otherwise: the economic loss
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                                                    13 rule did not bar the fraud claim “because” the conduct was independent of the breach
                                                    14 of contract. Robinson, 34 Cal.4th at 991. Other courts agree that, to support a claim
                                                    15 for fraud, a plaintiff must establish the misrepresentations violate a duty independent
                                                    16 of the contract. See, supra, at p. 23 (citing Multifamily, Intelligraphics, Oracle).
                                                    17 Gyrodata offers no evidence to establish such a duty in tort independent of the duty to
                                                    18 perform the contractual obligations.
                                                    19         4.     Gyrodata Has Not Been Exposed to Personal Damages
                                                    20         Gyrodata’s fraud claim is also barred if the alleged misrepresentations did not
                                                    21 expose Gyrodata to liability for personal damages independent of its economic
                                                    22 loss.21Robinson, 34 Cal.4th at 993; County of Santa Clara v. Atl. Richfield Co., 137
                                                    23 Cal.App.4th 292, 328 (2006) (economic loss rule does not bar fraud action against
                                                    24 makers of lead paint “where the plaintiff can establish that the fraud exposed the
                                                    25 plaintiff to liability” for personal damage from people exposed to lead paint,
                                                    26
                                                         21
                                                    27  Economic loss “generally means pecuniary damage that occurs through loss of
                                                       value or use of goods sold or the cost of repair together with consequential lost profits
                                                    28 when there has been no claim of personal injury or damage to other property.” S.F.
                                                       Unified School Dist. v. W.R. Grace & Co., 37 Cal.App.4th 1318, 1327, n. 5 (1995).
                                                                                                   24
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                                                     1 independent of its economic harm) (emphasis added). The damage must be personal
                                                     2 to the plaintiff, not a general harm to the public.22Aas v. Superior Ct., 24 Cal.4th 627,
                                                     3 646 (2000) (nonspeculative, present injury is essential element of tort claim); KB
                                                     4 Home v. Superior Court, 112 Cal.App.4th 1076, 1088 (2003) (“the Supreme Court
                                                     5 has unequivocally rejected [] a life-safety exception to the economic loss rule”).
                                                     6 Courts have held that exposure to personal damage is necessary to sustain an
                                                     7 exception to the economic loss rule for a fraud claim. Multifamily, 629 F.Supp.2d at
                                                     8 1146 (summary judgment on fraud claim); Oracle, 2009 WL 2084154 at *6
                                                     9 (dismissal of fraud claim); Intelligraphics, 2009 WL 330259 at *17 (summary
                                                    10 judgment where no evidence that fraud exposed plaintiff to liability beyond economic
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                                                    11 loss attributable to breach of contract). These courts -- which are not considering
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                                                    12 product liability claims23 -- contradict Gyrodata’s assertion that Robinson holds that,
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                                                    13 if plaintiff’s claim is for fraudulent conduct, the economic loss rule does not bar a
                                                    14 claim even if the damages are the same as those in contract (Gyrodata Opp., p.27).24
                                                    15         Here, Gyrodata has not produced evidence that the alleged fraud has exposed it
                                                    16 to personal liability. D88-D94; EA 367, p. 6942; EA482, p.8448-50 (detailing the
                                                    17 scope of damages sought by Gyrodata). There is no evidence of a claim against
                                                    18
                                                         22
                                                          Gyrodata’s First Supplemental Responses to AIS’s First Set of Special
                                                    19 Interrogatories, served in the midst of briefing the summary judgment motion, may
                                                       not be used to amend its claim. Netbula, LLC v. BindView Dev. Corp., 516 F.
                                                    20 Supp.2d 1137, 1153 n. 9 (N.D. Cal. 2007).
                                                       23
                                                          Although Gyrodata suggests the “personal damage” limitation in Robinson is
                                                    21 restricted to product liability cases (Gyrodata Opp., p.28), at least two courts have
                                                       suggested the Robinson ruling itself applies only to product liability cases.
                                                    22 Countrywide, 660 F.Supp.2d at 1183, citing Oracle, 2009 WL 2084154 at *6. By this
                                                       authority, Gyrodata’s argument that Robinson recognizes a fraud exception to the
                                                    23 economic loss rule fails in its entirety in this commercial contract case.
                                                       24
                                                    24    Gyrodata cites two cases as “consistent with [its] proper interpretation of
                                                       Robinson.” Gyrodata Opp., p.27-28. Western Emulsions, 2007 WL 1839718 at *9, is
                                                    25 a case addressing an argument raised on summary judgment in a reply brief that the
                                                       economic loss rule bars recovery of punitive damages. The case is distinguished in
                                                    26 Judge Patel’s thorough analysis of the economic loss rule in Oracle as a cursory, one
                                                       sentence examination of Robinson that “did not address the exposure-to-liability issue
                                                    27 stressed by the California Supreme Court.” Oracle, 2009 WL 2084154 at *6. Benis,
                                                       2011 WL 3714783 at *5, denies a motion to dismiss asserting the economic loss rule
                                                    28 where the defendant is alleged to have forged signatures on a loan document, and
                                                       similarly makes no mention of the exposure-to-liability issue in its brief analysis.
                                                                                                   25
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                                                     1 Gyrodata, or even of a threat of a claim. It has admitted that its damages on the fraud
                                                     2 claim are identical to its contract damages. D85, EA 485, p.8526 (Gyrodata’s Rule
                                                     3 26 Disclosure Statement “[f]or defendants’ fraud, plaintiff seeks all losses described
                                                     4 in subparagraphs (1) and (2) above [setting forth damages for breach of the T70 and
                                                     5 T100 contracts]”). And even when asked directly if it suffered any different damage
                                                     6 by reason of the fraud, Gyrodata’s responses were a list of all economic losses (e.g.,
                                                     7 value of wasted time, cost of mitigating alternatives, losses from delay) that are
                                                     8 contract damages and not personal damages. D91-D95; EA 482, p.8448-50.
                                                     9 Gyrodata has acknowledged the obvious: any damage suffered by it is economic loss,
                                                    10 and not personal damage. See, Intelligraphics, 2009 WL 330259 at *15, 17
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                                                    11 (summary judgment on fraud claim where no evidence that fraud exposed plaintiff to
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                                                    12 any harm beyond losses due to breach of contract).
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                                                    13         5.     Conclusion
                                                    14         New gyroscope development or production for commercial directional oil
                                                    15 drilling operations is not the kind of extracontractual liability recognized by
                                                    16 California courts as an exception to the economic loss rule. Instead, the commercial
                                                    17 conduct between Gyrodata and AIS is akin to the mortgage insurance in
                                                    18 Countrywide, the payment for services in Oracle, the exclusivity of insurance brokers
                                                    19 in Multifamily, and the timeliness of contract performance in Intelligraphics.
                                                    20         For all these reasons, the economic loss rule applies to bar Gyrodata’s claim for
                                                    21 fraud, both (or separately) as to the T70 and the T100.
                                                    22         PLAINTIFF’S RESPONSE: THE ECONOMIC LOSS RULE DOES
                                                               NOT BAR GYRODATA’S FRAUD CLAIMS
                                                    23
                                                               1.    The California Supreme Court holds that the economic loss rule does not
                                                    24               apply to fraud cases
                                                    25         The most recent Erie guidance from the California Supreme Court about the
                                                    26 economic loss rule is contained in Erlich v. Menezes, 21 Cal. 4th 543 (1999)
                                                    27 (“Erlich”), and Robinson Helicopter Co. v. Dana Corp., 34 Cal. 4th 979 (2004)
                                                    28 (“Robinson”). In Erlich, the Supreme Court discussed when a breach of contract is

                                                                                                   26
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                                                     1 also a tort. Erlich, 21 Cal. 4th at 552-54. The court stated, “[g]enerally, outside the
                                                     2 insurance context, a tortious breach of contract may be found when … the breach is
                                                     3 accompanied by a traditional common law tort, such as fraud or conversion ….” Id.
                                                     4 at 553-54 (internal quotation marks and ellipsis omitted).25
                                                     5         Robinson held that the economic loss rule did not bar fraud and intentional
                                                     6 misrepresentation claims that were related to breach of contract claims arising out of
                                                     7 the sale of defective components of a helicopter. Robinson, 34 Cal. 4th at 985-88.
                                                     8 Robinson quoted the passage from pages 553 through 554 of Erlich and then
                                                     9 concluded that “Dana’s fraud is a tort independent of the breach [of contract].” Id. at
                                                    10 991 (citing only Erlich, at 553-54). The court announced its holding in the very next
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                                                    11 sentence: “We hold the economic loss rule does not bar Robinson’s fraud and
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                                                    12 intentional misrepresentation claims because they were independent of Dana’s breach
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                                                    13 of contract.” Id. (citing only Erlich, at 552-54). This was true notwithstanding the
                                                    14 fact that “[the] misrepresentations of fact … [constituted] fraudulent conduct related
                                                    15 to the performance of the contract,” id. (emphasis added), and that damages (cost of
                                                    16 replacement parts and incidental administrative costs) were contractual in nature. Id.
                                                    17 at 986-87; see also CAL. COMM. CODE §§ 2714, 2715.              The Robinson court’s
                                                    18 quotation and repeated citation of the key portions of the Erlich decision resolve any
                                                    19 doubt that the economic loss rule does not bar fraud claims even if those claims are
                                                    20 related to breach of contract claims.26
                                                    21         Robinson is a California Supreme Court decision, and this Court need go no
                                                    22 further in making its Erie determination. However, the Ninth Circuit reads Robinson
                                                    23 the same way Gyrodata does. Hannibal Pictures, Inc. v. Sonja Productions LLC, 432
                                                    24
                                                         25
                                                          As discussed below, Defendants correctly point out that there is case law
                                                    25 suggesting that Robinson should be restricted to products liability cases. Defs.’ Arg.,
                                                       p. 22-3. If so, that would mean that Erlich—which is not a products liability case—
                                                    26 governs this case and Gyrodata’s fraud claim stands.
                                                       26
                                                          California Civil Code section 1572 also supports Gyrodata’s view: (“Actual fraud
                                                    27 … consists in any of the following acts, committed by a party to the contract, … with
                                                       intent to deceive another party … 1. [t]he suggestion, as a fact, of that which is not
                                                    28 true, by one who does not believe it to be true; … [or] 3. [t]he suppression of that
                                                       which is true, by one having knowledge or belief of the fact ….”) (emphasis added).
                                                                                                 27
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                                                     1 Fed. App’x. 700, 701 (9th Cir. 2011) (“The California Supreme Court has declined to
                                                     2 apply the economic loss rule to fraud and misrepresentation claims where, as here,
                                                     3 one party has lied to the other.”) (citing Robinson). Further, district courts in the
                                                     4 Central District of California have issued decisions that are in accord. See, e.g., Benis
                                                     5 v. Sallie Mae, Inc., No. CV 11-00402-ODW (VBKx), 2011 WL 3714783, at *5 (C.D.
                                                     6 Cal. Aug. 24, 2011) (Judge Wright) (the economic loss rule does not bar claims of
                                                     7 fraud or fraudulent concealment); Western Emulsions, Inc. v. BASF Corp., No. CV
                                                     8 05-5246 CBM (SSx), 2007 WL 1839718, at *9 (C.D. Cal. Jan. 19, 2007) (Judge
                                                     9 Marshall) (the economic loss rule does not bar fraud claims); see also Silver v.
                                                    10 Goldman Sachs Group, Inc., No. CV 10-4961 RSWL (AJWx), 2011 WL 1979241, at
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                                                    11 *5 (C.D. Cal. May 19, 2011) (Judge Lew) (adding negligent misrepresentation to the
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                                                    12 list of “traditional common law tort[s]” not barred by the economic loss rule).
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                                                    13         Robinson’s statement that its decision is “limited to a defendant’s affirmative
                                                    14 misrepresentations … which expose a plaintiff to liability for personal damages” is
                                                    15 simply a “reference[] to the products liability version of the [economic loss] rule.”27
                                                    16 United Guar. Mortg. Indem. Co. v. Countrywide Financial Corp., 660 F. Supp. 2d
                                                    17 1163, 1183 (C.D. Cal. 2009) (Judge Pfaelzer) (omitting internal quotation marks).
                                                    18 Because this action is not a products liability case, Gyrodata can therefore rely on the
                                                    19 intentional fraud exception to the economic loss rule discussed above.
                                                    20         2.    Defendants’ fraud endangered public health, safety and welfare
                                                    21         Even if Gyrodata were required to also show an enhanced risk to its own or the
                                                    22 public’s health and safety, it has done so. Defendants’ fraud delayed introduction of
                                                    23 the GWD70 device by many years. Uttecht Decl., ¶ 73 (EA 11, p. 894). The
                                                    24 GWD70 not only helps oil and gas companies find reserves more efficiently and with
                                                    25 fewer wells but reduces gross errors, avoids potentially disastrous wellbore collisions
                                                    26 and helps establish true wellbore location in the event offset (relief) wells must be
                                                    27
                                                         27
                                                          Robinson acknowledged that “[d]ealing with affirmative acts of fraud and
                                                    28 misrepresentation raises different policy concerns than those raised by negligence or
                                                       strict liability claims.” Robinson, 34 Cal. 4th at 991 n.7.
                                                                                                   28
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                                                     1 drilled to stop blowouts. Id., ¶¶ 73-79 (EA 11, pp. 894-97). The delay sharply
                                                     2 increased the risk of personal injury, property loss and environmental damage from
                                                     3 wellbore collisions. Id.; Thorogood Tr. (3/11/10), 69:1-18. Even defense experts
                                                     4 concede the point.      Oberkircher Tr. (4/7/10), 47:14–48:8.      The delay exposed
                                                     5 Gyrodata to liability for personal damages, and the risk was not insubstantial —
                                                     6 Gyrodata has been sued for operator errors within the last decade. Uttecht Decl., ¶ 78
                                                     7 (EA 11, pp. 896-97).28 ; EA476, p.8534-36 (Gyrodata's damages not limited to contract
                                                     8 losses).
                                                     9         3.    The BAE Defendants cannot have their cake and eat it too
                                                    10         The BAE Defendants cannot both deny being parties to the T70 contract and
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                                                    11 claim the benefits of the economic loss rule. The immunity (of whatever scope)
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                                                    12 provided by the economic loss rule does not apply to a non-contracting corporate
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                                                    13 affiliate who engages in tortious wrongdoing. Cf. Legal Additions LLC v. Kowalski,
                                                    14 No. C-08-2754 EMC, 2010 WL 1999894, at *3 (N.D. Cal. May 18, 2010).
                                                    15 VI.     DEFENDANTS’ ISSUE SIX: GYRODATA CANNOT MAINTAIN A
                                                               CLAIM FOR FRAUDULENT INDUCEMENT
                                                    16
                                                    17         Although the thrust of Gyrodata’s fraud claim is misrepresentations about the
                                                    18 manufacture, delivery and performance of the T70 and T100 contractual obligations,
                                                    19 Gyrodata has said it was “induced” to place later purchase orders for additional
                                                    20 T100s by AIS’s representations to make timely deliveries. D87; EA 481, p.8416.
                                                    21 There is no inducement claim regarding the T70 contract. D95.
                                                    22
                                                               As a matter of law, however, Gyrodata cannot maintain a claim for fraudulent
                                                    23
                                                         inducement of the T100 contracts because fraudulent inducement requires reasonable
                                                    24
                                                         reliance, which can be decided as a matter of law judged by an objective standard.
                                                    25
                                                         Alliance Mortg. Co. v. Rothwell, 10 Cal.4th 1226, 1239-1240 (1995); Countrywide,
                                                    26
                                                    27
                                                         28
                                                         Defendants contend that Gyrodata has not actually incurred liability for personal
                                                    28 damages, but Robinson does not even arguably impose such a requirement.
                                                       Robinson, 34 Cal. 4th at 993. No helicopters actually crashed in Robinson.
                                                                                                29
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                                                     1 660 F.Supp.2d at 1189. Reliance is proved by showing that the misrepresentation
                                                     2 regarding the timing of delivery was “an immediate cause” of placing the orders for
                                                     3 T100s, such as evidence that in the absence of the misrepresentation Gyrodata “in all
                                                     4 reasonable probability” would not have entered into the T100 contracts. In re
                                                     5 Tobacco II Cases, 46 Cal.4th 298, 326 (2009). Here, Gyrodata has presented no
                                                     6 evidence that it would not have entered into the contracts but for the representations
                                                     7 regarding timing of the delivery. In fact, it has said the opposite. In its Complaint,
                                                     8 Gyrodata said it was presented with a “Hobson’s choice” deciding between accepting
                                                     9 untimely deliveries of T100s or not contracting with AIS and losing its “lifeline
                                                    10 supply of T100s” because AIS is “the only company that manufactured these
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                                                    11 gyroscopes.” D52. Gyrodata chose to go with its lifeline supply regardless of
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                                                    12 untimely deliveries. Gyrodata has admitted it had no choice but to go with the T100
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                                                    13 contracts. Id. There is, therefore, no causation between the alleged misrepresentation
                                                    14 about the timing of delivery and Gyrodata’s inducement to sign contracts in reliance
                                                    15 on the timing of deliveries.
                                                    16            In response, Gyrodata implies it could have repaired broken T100s instead of
                                                    17 ordering new gyros in 2005-2007 (i.e., the damage period). D51; Gyrodata Opp.,
                                                    18 p.30. No evidence is presented of its ability to do so throughout that period. All
                                                    19 Gyrodata says is that it stopped ordering T100s in 2008, after the damage period and
                                                    20 after it developed the ability to manufacture T100s using IP developed under the T70
                                                    21 Program. D246; Gyrodata Opp., p.30-31. But 2008 has nothing to do with a claim
                                                    22 for losses in 2005-2007. There is no fraudulent inducement. Gyrodata’s remedy, if
                                                    23 any, is for breach of the T100 contractual commitments for the timing of delivery.
                                                    24            PLAINTIFF’S RESPONSE: GYRODATA  RELIED ON FALSE
                                                                  PROMISES IN RE-ORDERING T100S29
                                                    25
                                                    26            Gyrodata ordered T100s based on repeated assurances from 2004 through 2007
                                                    27 about the delivery schedule, transition status, yields and recovery plans. Uttecht
                                                    28
                                                         29
                                                              Defendants dispute reliance only for inducement, not the remaining fraud claims.
                                                                                                      30
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                                                     1 Decl., ¶¶ 47, 52-55, 71 (EA 11, pp. 877-78, 880-82, 893); Klopp Decl., ¶¶ 8, 27, 29
                                                     2 (EA 8, pp. 831, 837-38); P248-P269; Brosnahan Tr. (9/11/09), 112:8–113:21; Klopp
                                                     3 Tr. (09/15/09), 40:14–42:15; Casparro Tr. (10/20/09), 82:15–88:12; 185:10–189:16,
                                                     4 199:17-19 (Marinello “lied,” gave “faulty information” and was “dishonest”); EA
                                                     5 342, pp. 6343-44 (2006 ethics complaint). Defendants argue that Gyrodata depended
                                                     6 on T100s but concede its “alternative in the short-term … to repair broken T-100
                                                     7 gyros … amassed over the years (over 500) and … develop another source.” EA 91,
                                                     8 p. 2244. In 2008, after discovering the fraud, Gyrodata stopped ordering new T100s
                                                     9 and began repairing broken ones, as it had in the 1990s. Brosnahan Tr. (09/11/09),
                                                    10 109:19–110:24, (04/28/10) 172:1-11; Uttecht Tr. (9/9/09), 73:19–74:5. “[W]hether a
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                                                    11 plaintiff’s reliance is reasonable is a question of fact.” Alliance, 10 Cal. 4th at 1239;
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                                                    12 Engalla v. Permanente Med. Group, Inc., 15 Cal. 4th 951, 976-77 (Cal. 1997)
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                                                    13 (reliance may be inferred from material representations regarding timing and
                                                    14 programs).
                                                    15 VII. BAE DEFENDANTS' ISSUE SEVEN: PLAINTIFF’S FRAUD CLAIM
                                                            AND TORTIOUS INTERFERENCE CLAIMS ARE TIME BARRED30
                                                    16
                                                    17         Count III of the SAC, alleging fraud against each Defendant, is barred by the
                                                    18 three year statute of limitations for fraud. CAL. CIV. PROC. CODE §338(b).
                                                    19 Gyrodata’s fraud claims, filed on December 1, 2008, are largely time-barred, because
                                                    20 Gyrodata knew or reasonably should have known of the alleged
                                                    21 "misrepresentations/omissions" at issue in Count III of the SAC before the three year
                                                    22 statute of limitations cutoff -- December 1, 2005. See Kline v. Turner, 87 Cal. App.
                                                    23 4th 1369, 1374 (2001). Counts IV and V of the SAC, alleging that BAE Defendants
                                                    24 each tortiously interfered with the T100 and T70 contracts are entirely time barred by
                                                    25 the even shorter two-year statute of limitations for tortious interference, with the
                                                    26 cutoff date as December 1, 2006. See CAL. CIV. PROC. CODE § 339; Eagle Precision
                                                    27 Tech., Inc. v. Eaton Leonard Robolix, Inc., 2006 WL 6544087 *2 (S.D. Cal. 2006).
                                                    28
                                                         30
                                                           AIS joins in this motion to the extent it addresses the fraud claim.
                                                                                                      31
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                                                     1         1.    Gyrodata Knew before December 1, 2005 of T100 Manufacturing
                                                     2 Transfer and Delays:
                                                     3         Gyrodata knew about the transfer of T100 production to Cheshire and ensuing
                                                     4 delays by mid-2005 (outside the applicable statutes of limitations). (D96-99, EA481,
                                                     5 pp. 8416-8, EA364, p. 6591, EA363, pp. 6489, 6581-82, Casparro 12/19/11 Tr.
                                                     6 141:1-5). To the extent based on any decision to transfer T100 production from
                                                     7 Westlake to Cheshire, the fraud and tortious interference claims are time barred. 31
                                                     8         2.    Gyrodata Knew Before December 1, 2005 of T70 Development
                                                     9 Problems: Gyrodata's claims that Defendants secretly knew in 2003-2004 that the
                                                    10 T70 design would fail, and then withheld results of an April 2004 modeling that
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                                                    11 predicted failure, are also time barred. (D112, EA364, p. 6591) Gyrodata agreed in
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                                                    12 2003 to a T70 design approach based on miniaturizing the T100 gyro and was then
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                                                    13 told in May 2004, in May 2005, and in August 2005, that this approach would not
                                                    14 and did not meet the shock goals. (D113-116). Gyrodata's Gary Uttecht
                                                    15 acknowledged the T70 design approach failure in May 2005 and wrote that it was
                                                    16 "fruitless to expend any more resources on the existing design until we had all agreed
                                                    17
                                                         31
                                                         Uncorroborated and self-serving” testimony or affidavits cannot defeat a summary
                                                    18 judgment motion. Rodriguez v. Airborne Express, 265 F.3d 890, 902 (9th Cir.2001).
                                                       The self-serving declarations of Ms. Esparza and Messrs. Uttecht, Klopp, and
                                                    19 Brosnahan relied upon by Gyrodata fail to raise triable issues. Esparza’s self-serving
                                                       attempt to recreate BAE's employment history based on hand-selected documents
                                                    20 should be rejected for lack of personal knowledge. No evidentiary basis exists for
                                                       finding that either "Platform Solutions" or "E&IS" are (i) corporate entities, rather
                                                    21 than business units, or (ii) ever had any legally cognizable corporate existence or (iii)
                                                       ever had any officers, directors, or employees, especially where it is undisputed by
                                                    22 Gyrodata that "Platform Solutions" was a business unit comprised of different
                                                       corporations, such as the Inertial Products business that was divested in 2007 (D44,
                                                    23 EA2, pp. 18, 626-9, 633). Mr. Uttecht "opining" on BAE/AIS' fraudulent intent
                                                       (Uttecht Decl., ¶60-61) also lacks personal knowledge and misstates the evidence
                                                    24 (Kelly Decl., EA7, pp. 758-62 (showing critical misstatements). Various Slot
                                                       Machines, 658 F.2d at 700-01 (statements demonstrated to be false should be
                                                    25 disregarded). Mr. Klopp simply adopts Mr. Uttecht's declaration (Klopp Decl, ¶37)
                                                       without any personal knowledge or citations to evidence (e.g. ¶40). Mr. Brosnahan's
                                                    26 claim that Gyrodata had "no way of knowing" in 2005 that the Westlake facility
                                                       would close because Chris Persico only reported "rumors" contradicts his own notes,
                                                    27 Mr. Uttecht's and Mr. Persico's admissions, a contemporaneous press release, and
                                                       Gyrodata's privilege log communications – all showing that Gyrodata knew of
                                                    28 Westlake's closure in November 2005.

                                                                                                   32
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                                                     1 on what would be the next step," which BAE Inertial and Gyrodata did at the August
                                                     2 2005 T70 joint status meeting. (D118, EA311 , p. 6167). 32
                                                     3         3.     Gyrodata Knew Before December 1, 2005 of Westlake Closure:
                                                     4         Any claims based on "secret" Westlake closure plans is also time barred.
                                                     5 (D125, EA2, pp. 603-4, EA514, p. 8919). Gyrodata knew in November 2005 that
                                                     6 BAE Inertial was closing the Westlake facility, which was also reported in the press.
                                                     7 (D125, 128; Persico Tr. 1/04/12, 222:7-228:15 (EA280-1, pp. 5715, 5722); Uttecht
                                                     8 Tr. 12/23/11, 211:14-214:8). Gyrodata then commenced unsuccessful contractual
                                                     9 negotiations to possibly retain some T70 engineers in Westlake but such negotiations,
                                                    10 as a matter of law, do not toll the statute of limitations. (Id., D127, Persico Dep. Tr.
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                                                    11 1/04/12, 233:4-246:16, EA278, pp. 5384-93). Both Count III and Count V of the
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                                                    12 SAC are premised on the closure of Westlake, which Gyrodata knew about before the
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                                                    13 three year fraud bar (December 1, 2005) and the two year tortious interference bar
                                                    14 (December 1, 2006), so the fraud claim should be dismissed to the extent it is based
                                                    15 on the Westlake closure, and the tortious interference claim (Count V) should be
                                                    16 entirely barred.
                                                    17         Gyrodata's 2006 privilege log entries and litigation threats clearly show that
                                                    18 Gyrodata knew of its fraud and interference claims but neglected to timely bring
                                                    19 them. Gyrodata consulted with its counsel of record when Westlake's closure was
                                                    20 announced in 2005 regarding the T70 contract and T100 production and then
                                                    21 strategized with counsel "in anticipation of litigation" and its "potential claims against
                                                    22   32
                                                           (See D113-116, D118-122, D204-205; Persico Tr. 1/04/12, 47:18-22, 87:23-89:22
                                                    23   (EA277, pp. 5354-82), C. Persico Tr. 1/04/12, 114:5-20; Casparro Tr. 12/19/11,
                                                         160:15-161:19 (confirming the April 2004 shock data was discussed with Gyrodata in
                                                    24   May 2004) (see EA344, p. 6348-9); D118 (shock data from prototype testing
                                                         provided to Gyrodata in May 2005); Golden Tr. 1/06/12, 184:11-185:5; Uttecht Tr.
                                                    25   12/23/11, 201:8-12; Hoffman Tr., 100:1-25 (stating that he thought designing a new
                                                         cross-leaf suspension for the T70 would be costly and take at least a year)).
                                                    26   Gyrodata's claim that the August 2005 presentation "omitted" some information
                                                         inaccurately cites to the evidence. (EA7, p. 758-62; EA345, pp. 6351-6). Contrary to
                                                    27   Gyrodata's "continuous tort" argument, the statute of limitations for tortious
                                                         interference with the T70 and T100 contracts began to run when Gyrodata first
                                                    28   learned of the actionable injury based on its first T100 POs. Vaca v. Wachovia
                                                         Mortg. Corp., 198 Cal. App. 4th 737 (2011).
                                                                                                   33
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                                                     1 BAE" on numerous occasions in January 2006 and then 150 times in 2006. (D108,
                                                     2 EA7, pp. 773, 780, 782, 787, 794). Gyrodata's President threatened BAE Inertial
                                                     3 with litigation in June and August 2006, stating Gyrodata's "interference" allegations.
                                                     4 (D109; EA333, p. 6239-41, Gerber Tr. 12/03/09, 143:17-145:18). Gyrodata thus
                                                     5 failed to timely bring its fraud and tortious interference claims.
                                                     6         PLAINTIFF’S RESPONSE: GYRODATA’S FRAUD AND
                                                               INTERFERENCE CLAIMS ARE TIMELY
                                                     7
                                                     8         Gyrodata’s fraud and tortious interference claims are timely because: (a) many
                                                     9 underlying acts occurred within applicable limitations periods; (b) prior acts are
                                                    10 timely due to the discovery rule; (c) estoppel bars the assertion of limitations; and
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                                                    11 (d) the “continuing tort” doctrine applies.
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                                                    12         1.    Fraud occurring after December 2005 and contractual interference
                                                                     occurring after December 2006 are admittedly timely
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                                                    13
                                                    14         Defendants’ Rule 9(b) motion was denied, and Gyrodata’s interrogatory
                                                    15 responses have been ruled sufficient. ECF No. 50; ECF No. 177 at 5. Defendants
                                                    16 committed fraudulent acts after December 2005. Uttecht Decl., ¶¶ 66-67 (EA 11, pp.
                                                    17 888-91); EA 482, 8438-39; EA 364, p. 6591 (chart listing misrepresentations).
                                                    18 Defendants’ documents are replete with fraud throughout 2006 and 2007. EA 395,
                                                    19 pp. 7182-84; EA 422, p. 7580.
                                                    20         The BAE parent entities committed numerous acts of tortious interference after
                                                    21 December 2006. “Project Crossroads” was a largely secret, integrated and rolling
                                                    22 termination and restructuring program implemented by BAE Systems, Inc., that did
                                                    23 not end until 2007. See EA 2, pp. 603-04; see also EA 147, pp. 2826-29 (as of
                                                    24 December 1, 2006, the remaining plant reductions were not yet completed). One of
                                                    25 the project’s key components was to cut engineering resources and personnel
                                                    26 available to Gyrodata’s programs. See EA 147, pp. 2826-29 (engineering reductions
                                                    27 in Westlake, Cheshire, and Wayne facilities). Three T100 purchase orders in this
                                                    28 case require deliveries after December 2006. See EA 11, pp. 915-17; EA 187, p.

                                                                                                     34
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                                                     1 3262.        Each act of tortious interference in a continuing series triggers a new
                                                     2 limitations period. See, e.g., Moser v. Triarc Co., Inc., No. 05cv1742-LAB (WMc),
                                                     3 2007 WL 1111245, at *2-3 (S.D. Cal. Mar. 29, 2007).                Defendants therefore
                                                     4 interfered with T100 deliveries — as well as the T70 project — after December 2006
                                                     5 in the course of implementing Project Crossroads. EA 94, p. 2304; EA 110, p. 2418;
                                                     6 EA 209, p. 3367; EA 146, p. 2823; see also EA 108, p. 2411 (redirecting engineering
                                                     7 resources to “fire fighting” production disasters for another customer).
                                                     8         2.       Gyrodata filed suit within three years of discovering fraud and two
                                                                        years of discovering tortious interference
                                                     9
                                                    10         “The cause of action [for fraud] is not deemed to have accrued until the
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                                                    11 discovery, by the aggrieved party, of the facts constituting the fraud ….” CAL. CODE
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                                                    12 CIV. PROC. § 338(d). The inquiry is not when the lies were told but when the truth
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                                                    13 was discovered. Defendants challenge only three allegations of fraud:
                                                    14         (a)     Westlake closure. It was not until February 2006 that a final decision
                                                    15 firing all Westlake engineers was made and communicated. Uttecht Decl., ¶ 16 (EA
                                                    16 11, p. 863); Klopp Decl., ¶ 40 (EA 8, p. 841). Until then, BAE said no final decision
                                                    17 had been made and continued to negotiate to keep resources at Westlake. Brosnahan
                                                    18 Decl., ¶¶ 31-36 (EA 3, pp. 646-48). Defendants admit this. See D202-04; EA 278,
                                                    19 pp. 5384-95.
                                                    20         (b)     Transfer of production to Cheshire. BAE misrepresented its plan to
                                                    21 transfer T100 production to Cheshire by telling Gyrodata that it would build up an
                                                    22 inventory of T100s, maintain parallel lines and keep program management and
                                                    23 engineering authority at Westlake. EA 313, p. 6173; EA 315, pp. 6178-80; EA 205,
                                                    24 p. 3355; Uttecht Decl., ¶¶ 43, 50-51 (EA 11, pp. 875-76, 879-80). BAE’s own
                                                    25 employees admit these statements were lies. Casparro Tr. (10/20/09), 188:23–189:7
                                                    26 (representations were “a lie”), 199:17-20 (“documents … were written that I felt were
                                                    27 fraudulent.”); Hoffman Tr. (11/11/09), 161:2-23;162:1-4; 178:11-23 (no inventory
                                                    28 buildup). Gyrodata did not learn the truth until its March 2, 2006 visit to Cheshire.

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                                                     1 Uttecht Decl., ¶¶ 54-55 (EA 11, pp. 881-82).
                                                     2         Delays did occur in 2005, but breaches of contract do not disclose fraud. See
                                                     3 Garter-Bare Co. v. Munsingwear Inc., 723 F.2d 707, 713 (9th Cir. 1984) (“No
                                                     4 authority … supports [the] contention that notice of the violation of one’s contract …
                                                     5 triggers a duty to inquire as to possible fraud under … C.C.P. § 338(4).”).
                                                     6         (c)   Original T70 design/August 2005 presentation. After BAE’s initial
                                                     7 design failed, BAE told Gyrodata that “we are working on a plan for the next step in
                                                     8 the development program.” EA 204, p. 3349. On August 23, 2005, Defendants
                                                     9 promised “THE Solution!” EA 397, p. 7225. BAE represented that “[t]he new
                                                    10 suspension design will meet the Gyrodata MWD performance goals.” EA 397, p.
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                                                    11 7211; P270-74; see also Uttecht Decl., ¶ 59 (EA 11, pp. 884-85). BAE delivered a
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                                                    12 glowing presentation that convinced Gyrodata that the T70 program was back on
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                                                    13 track, altering the presentation to hide development problems and continued risks.
                                                    14 Compare EA 397, pp. 7209-37, with EA 396, pp. 7186-7207; Uttecht Decl., at ¶¶ 54-
                                                    15 62 (EA 11, pp. 881-887). BAE never disclosed that Cheshire was incapable of doing
                                                    16 development work or that BAE planned to lay off the remaining engineers in Wayne.
                                                    17 EA 388, p. 7164; Uttecht Decl., ¶ 66(b)-(d) (EA 11, pp. 1224-26, 28, 30). Gyrodata
                                                    18 finally discovered BAE’s fraud when AIS requested another $2 million dollars to
                                                    19 complete the T70 project in February 2008. Uttecht Decl., ¶ 70 (EA 11, pp. 892-93).
                                                    20 The discovery rule precludes summary judgment.
                                                    21         3.    The Defendants are estopped from claiming limitations
                                                    22         A defendant is estopped to assert limitations “if the defendant’s conduct, relied
                                                    23 on by the plaintiff, has induced the plaintiff to postpone filing the action until after
                                                    24 the statute has run.” Mills v. Forestex Co., 108 Cal. App. 4th 625, 652 (Cal. App.
                                                    25 2003); Langdon v. Langdon, 47 Cal. App. 2d 28, 31-32 (Cal. App. 1941). Estoppel is
                                                    26 a fact question. Mills, 108 Cal. App. 4th at 652.
                                                    27         Gyrodata relied on BAE’s false promises to delay filing suit. BAE met with
                                                    28 Gyrodata in June 2006 and offered concessions to avoid a lawsuit. EA 331, p. 6232-

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                                                     1 33. In December 2006, BAE admitted internally that it had sought to keep Gyrodata
                                                     2 from filing suit. EA 35, p. 1488 (“[Gyrodata] threatened to sue us … Siegel got
                                                     3 involved and quelled that to some extent.”).           BAE’s promises of continuing
                                                     4 performance persuaded Gyrodata not to seek legal remedies. Uttecht Decl., ¶¶ 61-65
                                                     5 (EA 11, pp. 885-88); EA 419, pp. 7544-46. Allowing Defendants to run out the clock
                                                     6 when their own lies, concealment and delays caused Gyrodata to postpone filing suit
                                                     7 would be unjust.
                                                     8         4.     What matters is when continuing conduct ends, not when it begins
                                                     9         “[W]hen a tort involves continuing wrongful conduct, the statute of limitations
                                                    10 doesn’t begin to run until that conduct ends.” Flowers v. Carville, 310 F.3d 1118,
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                                                    11 1126 (9th Cir. 2002); see also Tiberi v. CIGNA Corp., 89 F.3d 1423, 1431 (10th Cir.
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                                                    12 1996) (reversing summary judgment in light of continuing torts).
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                                                    13         Defendants engaged in a continuing series of fraudulent acts and omissions that
                                                    14 continued well past December 1, 2005. See supra, Response at 34-36. BAE
                                                    15 Systems’ executives formulated, refined and implemented Project Crossroads on an
                                                    16 ongoing basis, well into 2007. Id.; EA 160, p. 3047 (BAE Systems, Inc. initiated
                                                    17 Project Crossroads); Siegel Tr. (11/16/09), 46:21–49:3 (same); EA 23, p. 1461; see
                                                    18 also P270-80. By 2007, the T100 line looked like a “refugee camp.” EA 64, p. 1819.
                                                    19 By January 2008, BAE’s cuts had stripped Inertial of the ability to perform even
                                                    20 customer-funded development. EA 296, pp. 6050-71. It is impossible to break
                                                    21 Project Crossroads into all of its specific acts and decisions for limitations purposes.
                                                    22 Fact disputes exist regarding the nature, timing and extent of Project Crossroads, how
                                                    23 the cuts impacted the programs and Defendants’ continuing fraud.
                                                    24 VIII. BAE DEFENDANTS' ISSUE EIGHT: PLAINTIFF’S FRAUD CLAIM
                                                             AGAINST THE BAE DEFENDANTS IS BARRED
                                                    25
                                                             In addition to the economic loss rule33 and statute of limitations, Plaintiff's
                                                    26
                                                    27   33
                                                         Gyrodata cites no law for the proposition that a parent corporation cannot rely on
                                                       the economic loss doctrine based on a subsidiary's contract, where the fraud
                                                    28 allegations against the parent restate the breach of contract claim against the
                                                       subsidiary. A party does not have to have a contractual relationship to assert the
                                                                                                37
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                                                     1 fraud claim should be dismissed as to the BAE Defendants as a matter of law for
                                                     2 failure to provide any competent evidence of a duty independent of the T70 and T100
                                                     3 contracts, let alone intent, or justified reliance on any misrepresentation by any BAE
                                                     4 defendant -- all required elements to sustain a fraud claim. In sum, Plaintiff fails to
                                                     5 offer competent proof of "who, what and when" for any BAE Defendant as to any
                                                     6 intentional misrepresentations or omissions about T70 development or T100
                                                     7 deliveries, and how it was damaged directly by any such misrepresentation. See Tok
                                                     8 Cha Kim v. CB Richard Ellis Hawaii, Inc., 2008 WL 2610274, at *3 (9th Cir. 2008);
                                                     9 2156 Stratford Circle LLC v. AIG, Inc., et al, 2012 WL 29411, at *12-13 (Cal. App.
                                                    10 2d Dist. 2012). Plaintiff cannot proceed on a fraud claim by generalizing that all
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                                                    11 three BAE Defendants "must have been" involved in AIS' misrepresentations. See
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                                                    12 U.S. ex rel Thomas v. Siemens AG, 708 F. Supp. 2d 505, 523-24 (E.D.Pa. 2010).
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                                                    13         The fraud count (Count III) names only one representative -- Carol Marinello --
                                                    14 but undisputed competent evidence demonstrates that she was an employee of BAE
                                                    15 Inertial (now AIS), not any BAE Defendant. (D129, EA481, pp. 8415-20). Plaintiff
                                                    16 offers no evidence showing that any BAE Defendant directed Ms. Marinello to make
                                                    17 any misrepresentations to Gyrodata (or that she did anything other than promise AIS'
                                                    18 contractual performance, which is not actionable as fraud).34 Besides Greg White, all
                                                    19
                                                       economic loss doctrine. Allied Fire & Safety Equip. Co., Inc. v. Dick Enterprises,
                                                    20 Inc., 972 F. Supp. 922, 938 (E.D. Pa. 1997); Annett Holdings, Inc. v. Kum & Go,
                                                       L.C., 801 N.W.2d 499, 504 (Iowa 2011). California courts apply the economic loss
                                                    21 rule to bar claims against a parent, even when it is not a signatory to the subsidiary's
                                                       contract. Federal Deposit Ins. Co. v. LSI Appraisal, LLC, 2011 WL 5223061, at *6
                                                    22 (C.D. Cal. Nov. 2, 2011); Federal Deposit Ins. Corp. v. Corelogic Valuation
                                                       Services, LLC, 2011 WL 5554324 (C.D. Cal. 2011); and Countrywide, 660 F. Supp.
                                                    23 2d 1163. Legal Additions LLC v. Kowalski, 2010 WL 1999894 (N.D. Cal. 2010) is
                                                       inopposite -- the case dealt with an individual defendant that committed a wrong
                                                    24 independent of the contract. Courts bar fraud claims against individuals and
                                                       corporations alike where there is no evidence of a wrong independent of the
                                                    25 subsidiary's breach of contract. See AIG, 2012 WL 29411, at *16; Northern Natural
                                                       Gas Co. v. Superior Court, 64 Cal.App.3d 983, 991, 134 Cal.Rptr. 850, 855 (Cal.
                                                    26 App. 1976).
                                                       34
                                                          Gyrodata fails to present evidence of fraudulent intent sufficient to overcome
                                                    27 summary judgment. Netbula, LLC v. BindView Dev. Corp., 516 F.Supp.2d 1137
                                                       (N.D. Cal. 2007). The attempt to turn this case into some sort of conspiracy theory
                                                    28 where a finance executive (i.e., Controls' Greg White) conspired with T70/T100
                                                       workers (e.g., AIS' Rich Gerber or Carol Marinello) to keep "secret Westlake closure"
                                                                                                 38
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                                                     1 other individuals identified by Gyrodata as involved in the alleged fraud were BAE
                                                     2 Inertial’s employees or representatives, and most of them continued to work for AIS
                                                     3 in 2007 after BAE Inertial was sold. (D131-9, EA484, pp. 8469, 8490-91, EA481, pp.
                                                     4 8415-20 , EA2, pp. 11-12, 161-2). 35 BAE Inertial was sold and is now AIS, not BAE
                                                     5 -- no BAE Defendant has dealt with Gyrodata since August 2007. (D142, EA2, pp.
                                                     6 10-11, 18). Besides the unsupported and time barred claim that BAE's Greg White
                                                     7 had predetermined plans to close the Westlake facility before May 2003, the SAC
                                                     8 fails to identify any fraudulent act or omission by any BAE defendant. (D140-41,
                                                     9 EA481, p. 8408).36 Thus, Plaintiff's fraud claim should be dismissed against the BAE
                                                    10 defendants -- not only because it is untimely and barred by the economic loss rule --
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                                                    11 but also because Plaintiff fails to allege with particularity the elements of a fraud
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                                                    12 claim as to any BAE Defendant. 37
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                                                    13         PLAINTIFF’S RESPONSE: EACH NAMED BAE DEFENDANT IS
                                                               LIABLE FOR FRAUDULENT ACTS AND OMISSIONS
                                                    14
                                                    15         California law imposes broad duties not to lie, conceal, make false promises or
                                                    16 engage in deceit. CAL. CIV. CODE § 1572-73, 1709-10; Hynix Semiconductor Inc. v.
                                                    17
                                                    18 plans from Gyrodata is mere fantasy, which requires dismissal. See Dafasso v. Gen.
                                                       Dynamics C4 Systems, Inc., 637 F.3d 1047, 1061 (9th Cir. 2011).
                                                    19 35
                                                          Gyrodata's new claim that Lee Gwyn and Shlomo Kanner were also involved in the
                                                    20 fraud,  (D136), should be disregarded in light of its late identification and failure to
                                                       identify any specific misrepresentations allegedly made by these individuals.
                                                    21 Netbula, 516 F. Supp. 2d at 1153. In any event, Mr. Kanner was employed by BAE
                                                       Inertial. (D137-39, EA2, pp. 161-2). Mr. Gwyn worked for BAE Systems Aircraft
                                                    22 Controls (not a named Defendant) and was only involved with the project for several
                                                       months in 2005. (Id.) Plaintiff's argument that Dan Bonsick, as BAE's 30(b)(6)
                                                    23 witness cannot present the list of which entity each employee worked for is
                                                       unsubstantiated and ignores the law on 30(b)(6) witnesses. QBE Ins. Corp. v. Jorda
                                                    24 Enterprises, Inc., 277 F.R.D. 676 (S.D. Fla. 2012).
                                                       36
                                                          This claim is not only false but also time barred. The facts show that BAE did not
                                                    25 have predetermined plans to close Westlake in 2003. (See D141, EA2, p. 14,, 114-
                                                       117; see also White Tr., 180:7-13).
                                                    26 37
                                                          Gyrodata's witnesses, four former engineers in Westlake, including George
                                                    27 Hoffman    and Dan Golden, could not articulate any fraud perpetrated on Gyrodata.
                                                       (D143-4, D146, Casparro Tr. 12/19/11, 76:22-83:17, 149:4-6, Persico Tr. 1/04/12,
                                                    28 47:18-22, Golden 1/06/12, 146:10-148:16, 221:22-222:16, Hoffman Tr. 12/15/11,
                                                       233:8-20, 277:5-17). Gyrodata still fails to do so in opposition to this motion.
                                                                                                    39
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                                                     1 Rambus Inc., 441 F. Supp. 2d 1066, 1075 (N.D. Cal. 2006). “Actual fraud is always
                                                     2 a question of fact.” CAL. CIV. CODE § 1574.38 Each BAE Defendant is liable for
                                                     3 fraud committed by its employees or by agents acting on its behalf who were
                                                     4 employed by other BAE entities. Inter Mountain Mortg., Inc. v. Sulimen, 78 Cal.
                                                     5 App. 4th 1434, 1441-42 (2000) (reversing summary judgment — questions of fact on
                                                     6 employee/agent status); CAL. CIV. CODE §§ 2299-2300.
                                                     7         Each BAE Defendant knew of the fraud, lied, hid the truth, made false
                                                     8 statements about schedules, recovery plans, capabilities of Cheshire and Wayne, and
                                                     9 concealed ongoing cuts, closures and other material facts. See Uttecht Decl., ¶¶ 47,
                                                    10 52-72 (EA 11, pp. 877-78, 880-94); Klopp Decl., ¶¶ 40-45, 27, 29, 37 (EA 8, pp. 841-
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                                                    11 44, 837-38, 840); Brosnahan Decl., ¶¶ 31-32, 35-36 (EA 3, pp. 646-47, 648); EA 364,
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                                                    12 pp. 6591 et seq.; P248-P325, P365-97. Managerial employees of Controls, IESI and
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                                                    13 Inc. were responsible. Esparza Decl., Ex. A, Tabs 1-16 (EA 502, pp. 8670-6).
                                                    14         White and Siegel were VPs for BAE Systems Controls, Inc.           P210L, N.
                                                    15 Marinello wore multiple hats for “E&IS” (BAE Systems Inc.’s business name) and
                                                    16 “Platform Solutions” ― “above the … Inertial Products level.”           Marinello Tr.
                                                    17 (11/20/09), 271:7-16; Esparza Decl., Tab 3 (EA 502, p. 8693); EA 128, p. 2508. All
                                                    18 three knew BAE could not “maintain a significant engineering staff for development
                                                    19 work,” but Siegel and Marinello told Gyrodata precisely the opposite. EA 438, pp.
                                                    20 7677-79; Uttecht Decl., ¶¶ 52-68 (EA 11, pp. 880-92). Siegel promised that T70
                                                    21 work would be completed, development engineers in Cheshire and Wayne were fully
                                                    22 capable, and they were giving the matter a high priority. Uttecht Decl., ¶¶ 58, 66 (EA
                                                    23 11, pp. 883-84, 888-89). Internally, BAE admitted that “we cannot do development
                                                    24 in Cheshire,” EA 388-89, pp. 7164-68, the Cheshire group was cut in half and was so
                                                    25 understaffed it could not do development work, EA 437, pp. 7662-75; EA 11, pp.
                                                    26
                                                         38
                                                         Conflicting evidence of agency presents a fact question for the jury. In addition to
                                                    27 the specific proof attached to the Esparza Declaration, BAE operated as a single
                                                       integrated company rather than through separate legal entities. P211A-F. Most BAE
                                                    28 employees did not even know which entity employed them. P215-217; Esparza Decl.
                                                       (EA 502). Gyrodata incorporates all proof from Issues 3, 6 and 8. P248-P397.
                                                                                               40
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                                                     1 1150-65; EA 2, pp. 603-04; EA 385, p. 7127; EA 439, pp. 7681-84, and the few
                                                     2 development folks left were “close to giving up and bailing out,” EA 419, 7544.
                                                     3 E&IS accountants reported that “next to no work was done,” EA 424, pp. 7584-85,
                                                     4 and testing was given “no priority,” EA 421, pp. 7577-78; EA 391-94, pp. 7173-80;
                                                     5 EA 419, p. 7546; EA 423, p. 7582; EA 434, p. 7649; Uttecht Decl., ¶ 67 (EA 11, pp.
                                                     6 889-91).
                                                     7         Marinello’s representations were “a lie.” Casparro Tr. (10/20/09), 188:23–
                                                     8 189:7, 199:17-20. Program manager Tim Anderson (Platform Solutions) was rated
                                                     9 “unacceptable,” but Gyrodata was told the opposite. Uttecht Decl., ¶ 64(EA 11, p.
                                                    10 888); EA 154, p. 2979. Marinello and Lee Gwyn (E&IS program manager) doctored
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                                                    11 an August 2005 presentation to make it appear that the prototypes were just around
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                                                    12 the corner when they knew the opposite was true. Uttecht Decl., ¶¶ 57-65 (EA 11,
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                                                    13 pp. 882-88); EA 131-32, pp. 2537-40. Shlomo Kanner (BAE Systems NA Controls
                                                    14 and E&IS project leader) admitted the company was lying: “we have not owned up
                                                    15 to Gyrodata that the plans are to RIF the people in Wayne that … just picked up
                                                    16 the responsibility from Westlake. If you disclosed this, they may conclude … we …
                                                    17 can’t accomplish the development and … demand the IP.” EA 395, pp. 7182-84;
                                                    18 EA 17, p. 1400; EA 87, pp. 2028-29. Ted McDonough (E&IS) knew T70 was getting
                                                    19 low priority and Cheshire was incapable, but BAE told Gyrodata the opposite.
                                                    20 Uttecht Decl., ¶¶ 65-67 (EA 11, pp. 888-91); McDonough Tr. (12/22/09), 164:20–
                                                    21 165:12, 274:12–275:13. Ethics complaints made in March 2006 were not disclosed
                                                    22 or investigated. P307. Siegel carefully orchestrated presentations because “when
                                                    23 we’re in this kind of trouble, subtle impressions can make a difference.” EA 409, pp.
                                                    24 7508-09. There is ample evidence of fraud by each Defendant. Uttecht Decl., ¶¶ 52-
                                                    25 72 (EA 11, pp. 880-94).
                                                    26 IX.     BAE DEFENDANTS' ISSUE NINE: PLAINTIFF FAILS TO
                                                               ESTABLISH KEY ELEMENTS REQUIRED FOR TORTIOUS
                                                    27         INTERFERENCE CLAIMS
                                                    28         Gyrodata claims that the restructuring of Inertial Products' business through

                                                                                                  41
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                                                     1 consolidating multiple legacy manufacturing and engineering facilities tortiously
                                                     2 interfered with its T100 (Count IV) and T70 (Count V) contracts. However, such
                                                     3 allegations fail to meet the intent and causation requirements for tortious interference
                                                     4 claims, which is additional grounds for dismissing these counts.
                                                     5         Courts consistently dismiss tortious interference with contractual relations
                                                     6 claims in the absence of competent evidence to demonstrate an intentional
                                                     7 interference with a contract and/or where there is no causation between the alleged
                                                     8 interfering conduct and the breach. See Heheman v. E.W. Scripps Co., 661 F.2d
                                                     9 1115, 1127-28, rehearing denied 668 F.2d 878, certiorari denied 456 U.S. 991, 102 S.
                                                    10 Ct. 2272 (1982); LucasArts Entm't Co. v. Humongous Entm't Co., 870 F. Supp. 285,
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                                                    11 291 (N.D. Cal. 1993); Eforce Global, Inc. v. Bank of America, N.A., 2010 WL
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                                                    12 2573976, at *9-10 (N.D. Cal. 2007); Wynn v. Nat'l Broadcasting Co., Inc., 234 F.
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                                                    13 Supp. 2d 1067, 1121-22 (C.D. Cal. 2002). Gyrodata's position that it does not have to
                                                    14 prove intentional harm or causation for a tortious interference claim (GD Br. 25) is
                                                    15 wrong as a matter of law.
                                                    16         But even were Gyrodata able to show some intent to interfere, which it has not
                                                    17 done in this case, BAE Defendants were privileged to interfere for economic reasons.
                                                    18 The evidence set forth in the Bonsick Declaration shows that the decision to
                                                    19 consolidate BAE Inertial's legacy production and engineering facilities, resulting in
                                                    20 the transfer of T100 production in 2003, and the later decision to close Westlake in
                                                    21 2005, was economically justified based on the need to streamline operations in the
                                                    22 face of declining sales and loss of business. The corporate documentation shows that
                                                    23 there was no intent to harm Gyrodata, but rather to address the business reality of
                                                    24 contracting sales -- in 2005, a 39% decline in sales from 2003 to 2006 was projected,
                                                    25 as BAE Inertial lost critical production contracts in Westlake and other facilities.
                                                    26 (D160-162, 166, EA2, p. 15-16, 492).
                                                    27         Gyrodata does not offer any admissible evidence in opposition to show that any
                                                    28 BAE Defendant sought to intentionally induce a breach of the T70 contract or T100

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                                                     1 purchase orders. It does not show how any of its alleged damages were caused by the
                                                     2 alleged interference. (See supra, issue 2) Plaintiff also fails to show that its tortious
                                                     3 interference claims were timely filed under the applicable statute of limitations (see
                                                     4 supra, issue 7). These independent reasons mandate dismissal of Counts IV and V
                                                     5 against the BAE Defendants. In addition, the evidence shows that BAE Defendants
                                                     6 acted for valid and justifiable economic reasons and that BAE Inertial implemented
                                                     7 specific plans in late 2005 for Gyrodata's benefit to continue T70 development and
                                                     8 T100 production at the Cheshire and Wayne facilities, even though Gyrodata no
                                                     9 longer funded T70 work. (D174-179, EA2, pp. 11-12, 17, 163-65, 614-619, EA338,
                                                    10 p. 6292, EA337, pp. 6265-6290, EA212, pp. 3373-3375, EA329, pp. 6223-6224,
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                                                    11 EA185, p. 3247, EA340, pp. 6297-6333, EA468, pp. 8052-4). This is a fourth and
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                                                    12 final reason for dismissal of Count IV and V.
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                                                    13         PLAINTIFF’S RESPONSE: BAE’S INTERFERENCE WAS
                                                               INTENTIONAL AND NOT PRIVILEGED
                                                    14
                                                    15         Under California law, “intentional” interference may be inferred from conduct
                                                    16 substantially certain to interfere with an existing contract. Quelimane Co. v. Stewart
                                                    17 Title Guar. Co., 19 Cal. 4th 26, 55-56 (1998) (actionable even when interference is
                                                    18 incidental to actor’s independent purpose and desire but known to be a necessary
                                                    19 consequence of his actions); see also Bank of New York v. Fremont Gen. Corp., 523
                                                    20 F.3d 902, 909 (9th Cir. 2008).         To establish causation, an act need only be a
                                                    21 “substantial factor” leading to harm.       Fremont, 523 F.3d at 909-10.         A parent
                                                    22 company has the burden to prove that its interference with a subsidiary’s contract was
                                                    23 privileged. Culcal Stylco, Inc. v. Vornado, Inc., 26 Cal. App. 3d 879, 882 (1972);
                                                    24 Woods v. Fox Broad. Sub., Inc., 129 Cal. App. 4th 344, 350-51 (2005).
                                                    25         BAE bought Condor in December 2002 for $57 million and re-sold it in
                                                    26 August 2007 for $140 million — hardly the signs of a struggling company. ECF
                                                    27 No. 233 at 8; EA 2, pp. 626-9. In fact, before Project Crossroads, Inertial was
                                                    28 projected to earn $111 million of profit between 2006 and 2011. White Tr. (12/8/09),

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                                                     1 86:8–87:14. BAE demanded and directed the cuts, however, hoping to enrich itself to
                                                     2 the tune of an additional $20 to $30 million. Id. at 104:13–105:12.
                                                     3         BAE knew that closing Westlake, cutting Cheshire personnel by around 20%
                                                     4 and gutting the Wayne group would: (1) cause “irrevocable harm to [Inertial’s]
                                                     5 engineering capacity;” (2) significantly and adversely affect current programs,
                                                     6 including Gyrodata’s T70; and (3) delay deliveries of T100 gyros to all. EA 11, p.
                                                     7 1165 (“irrevocable harm to our engineering capacity”); EA 278, pp. 5386-95 (“key
                                                     8 engineering support to the T100 production line, T70 development, and systems
                                                     9 design will be lost”); EA 95, p. 2307 (“likely to lose Gyrodata”); EA 167, p. 3127
                                                    10 (cuts “would decrease the value of IP”); EA 95, p. 2307 (“staffing levels are driven to
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                                                    11 meet financial model, but is less than required to execute programs”); Casparro Tr.
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                                                    12 (10/20/09), 207:21–208:7 (the “silliest move that BAE ever made.”). BAE’s decision
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                                                    13 to move forward with the cuts, knowing these risks, is not privileged. See Phil
                                                    14 Crowley Steel Corp. v. Sharon Steel Corp., 782 F.2d 781, 784 (8th Cir. 1986)
                                                    15 (improper purpose to harm the subsidiary to “make more money”).
                                                    16         These heavy cuts clearly caused the breach of Gyrodata’s contracts. See also
                                                    17 EA 58, p. 1771 (as BAE put Inertial into “harvest mode,” there was a severe shortage
                                                    18 of four different types of engineers); EA 64, p. 1819 (by 2007, T100 assembly area
                                                    19 looked like a “refugee camp”). In 2008, AIS blamed its lack of resources on the
                                                    20 restructuring. EA 296, pp. 6050-71 (“Consolidation of U.S. facilities and Business
                                                    21 Divestiture … minimize[ed] U.S. engineering investment and resources.”). Whether
                                                    22 the inference was known to be a necessary consequence of the restructuring, a
                                                    23 substantial factor in Gyrodata’s harm, and justified under all the circumstances are
                                                    24 issues properly left to the jury.
                                                    25      PLAINTIFF GYRODATA’S MOTIONS FOR SUMMARY JUDGMENT
                                                    26         Gyrodata is entitled to summary judgment on AIS’s declaratory judgment
                                                    27 counterclaim and all defenses based on alleged use of proprietary data.
                                                    28

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                                                     1 I.      PLAINTIFF’S ISSUE A: BAE/AIS’S “STANDARD TERMS AND
                                                               CONDITIONS” ARE NOT PART OF THE T-100 SALES CONTRACTS
                                                     2         OR T-100 REPAIR-PARTS CONTRACT
                                                     3
                                                               Defendants contend that Gyrodata violated BAE/AIS’s Standard Terms and
                                                     4
                                                         Conditions (ST&Cs) by repairing and replacing the suspension in T-100 gyroscopes
                                                     5
                                                         and seek $66 million in profit made from services provided using the repaired units.
                                                     6
                                                         Defendants also rely on the ST&Cs as the sole basis for “limitation of liability”
                                                     7
                                                         defenses39 to Gyrodata’s damages for breach of the T-100 contracts and as part of the
                                                     8
                                                         predicate for BAE’s “setoff” and “unclean hands” defenses. Gyrodata is entitled to
                                                     9
                                                         judgment on all counterclaims and defenses that rely upon the ST&Cs because they
                                                    10
                                                         are not part of the T-100 sales contracts or T-100 repair-parts contract.
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                                                               Gyrodata asserts breach of six T-100 sales contracts. ECF No. 108 (EA 481,
                                                    12
                                                         pp. 8401-25. Purchase Order 201520 was accepted by BAE without any reference to
                              SUITE 2100




                                                    13
                                                         ST&Cs, and no ST&Cs were sent to Gyrodata in response to that purchase order. EA
                                                    14
                                                         383, p. 7109; P36. BAE/AIS accepted Purchase Orders 61010, 61121, 61420, 61706
                                                    15
                                                         and 61993 conditioned upon Gyrodata’s assent to BAE/AIS’s ST&Cs. EA 355-56,
                                                    16
                                                         pp. 6422-38; EA 359-60, pp. 6461-76; EA 362, pp. 6481-87; P6,40 8, 11, 13, 15; see
                                                    17
                                                         also Defs.’ Resp. to P26-30. BAE/AIS never sought or received Gyrodata’s written
                                                    18
                                                         or oral assent to the ST&Cs. Uttecht Decl., ¶ 14; P16-25. At no point did BAE/AIS
                                                    19
                                                         require Gyrodata to accept the ST&Cs. Uttecht Decl., ¶ 14 (EA 11, p. 862); P26-30.
                                                    20
                                                         Gyrodata never signed the ST&Cs in connection with sales of T-100 gyroscopes.
                                                    21
                                                         P31, 38, 40.
                                                    22
                                                    23   39
                                                            AIS has not pled contractual limitation of liability and has therefore waived this
                                                         affirmative defense. See AIS’s Second Am. Countercl., ECF No. 173 (EA 473, pp.
                                                    24   8197-8217) (“SACC”), ¶¶ 25-52; Kerry, Inc. v. Lakeland Cold Storage, LLLP, No.
                                                         8:10-cv-2209-T-27MAP, 2011 WL 2038549, at *2 (M.D. Fla. May 24, 2011)
                                                    25   (contractual limitation of liability is an affirmative defense); FED. R. CIV. P. 8(c)(1).
                                                         The Taylor decision cited by Defendants merely involved a statutory limit on
                                                    26   damages intrinsic to the Plaintiff’s case, not a contractual limitation of damages
                                                         which  would be an affirmative defense. 821 F.2d at 1428, 1432-33.
                                                    27   40
                                                            Defendants frequently admit the gist of admissions requested but add “helpful”
                                                         irrelevant facts and call them “disputed.” Where this occurs, Gyrodata points to the
                                                    28   SUF where the actual facts are stated so the Court can utilize the admitted portion of
                                                         the request. Gyrodata incorporates Plaintiff’s SUF entries and proof in full.
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                                                     1         No ST&Cs apply to Purchase Order 201520 because BAE accepted it without
                                                     2 any reference to its ST&Cs. EA 383, p. 7109; P36. As to the remaining five
                                                     3 purchase orders, California Commercial Code section 2207 sets out three mutually
                                                     4 exclusive paths to the formation of a contract.41 If a buyer’s purchase order contains
                                                     5 terms A, B and C and the seller’s acceptance contains terms A, B, C, D and E, the
                                                     6 parties have formed a contract containing terms A, B and C; terms D and E become
                                                     7 proposals for additions to the contract (Path #1). Diamond Fruit Growers, Inc. v.
                                                     8 Krack Corp., 794 F.2d 1440, 1443-44 (9th Cir. 1986).          However, the rules are
                                                     9 different if the seller expressly conditions its acceptance on the buyer’s assent to
                                                    10 terms D and E. If the buyer specifically assents to terms D and E, then the parties
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                                                    11 have a contract containing terms A, B, C, D and E (Path #2). Id. On the other hand,
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                                                    12 if the buyer does not assent to terms D and E but the parties proceed as if they have a
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                                                    13 contract, their conduct forms a contract consisting of the terms on which the parties’
                                                    14 writings agree (A, B and C) plus any “gap filler” terms supplied by the Uniform
                                                    15 Commercial Code (Path #3). Id.
                                                    16         In our case, BAE/AIS’s acceptances of P.O. 61010, 61121, 61420, 61706 and
                                                    17 61993 were expressly conditioned upon Gyrodata’s assent to the ST&Cs. EA 355-
                                                    18 56, pp. 6422-38; EA 359-60, pp. 6461-76; EA 362, pp. 6481-87; P6, 8, 11, 13, 15;
                                                    19 see also Defs.’ Resp. to P26-30. Thus, Path #1 does not apply.
                                                    20         Path #2 applies only if Gyrodata assented to the ST&Cs. Gyrodata never
                                                    21 expressly assented to the ST&Cs. Uttecht Decl., ¶ 14 (EA 11, p. 862); P16-25, 31,
                                                    22 38, 40. Further, Gyrodata’s silence, receipt and use of the T-100s and receipt of
                                                    23 numerous copies of BAE/AIS’s ST&Cs over time do not constitute assent to the
                                                    24 ST&Cs as a matter of law. See, e.g., Textile Unlimited, Inc. v. A..BMH & Co., 240
                                                    25 F.3d 781, 788-89 (9th Cir. 2001); Diamond Fruit, 794 F.2d at 1445; Transwestern
                                                    26 Pipeline Co. v. Monsanto Co., 46 Cal. App. 4th 502, 513 n.1 (Cal. App. 1996).42
                                                    27
                                                         41
                                                           The parties stipulate that California law applies. See P144.
                                                    28   42
                                                           Defendants discuss the procedural posture of all three opinions but do not and
                                                         cannot ultimately dispute the rule of law they establish—repeated ordering and
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                                                     1 Defendants’ claim that Gyrodata’s “performance” constitutes “express assent”
                                                     2 therefore fails.43
                                                     3         Lacking evidence of express assent, Defendants’ claim that Gyrodata’s use of
                                                     4 “several” RMA forms to obtain conforming gyroscopes substitutes for it. This raises
                                                     5 no genuine dispute of material fact. Gyrodata had the right under the Uniform
                                                     6 Commercial Code to fit and merchantable gyroscopes; its insistence on them gave no
                                                     7 assent to ST&Cs giving it lesser rights. CAL. COMM. CODE §§ 2314, 2315. The
                                                     8 RMAs do not mention the ST&Cs at all, much less adopt them, and BAE explained
                                                     9 that they were merely tracking forms. Brosnahan Decl., ¶¶ 26-28 (EA 3, pp. 645-46).
                                                    10 Gyrodata sent in at least 25 T-100s for repair or replacement without an RMA, and
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                                                    11 BAE accepted and repaired or replaced them. Id., ¶ 26 (EA 3, p. 645). The Gerber
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                                                    12 declaration asserting that Gyrodata assented to the ST&Cs is a sham: Gerber knew
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                                                    13 that Gyrodata had rejected BAE’s attempts to impose payment terms found in the
                                                    14 ST&Cs and complained bitterly about it. Id., ¶ 29 (EA 3, p. 646); Gerber Tr.
                                                    15 (12/3/9), 146:9–147:3. Finally, Defendants’ cases are inapposite. In Twin Disc, the
                                                    16 issue of assent was a “close one” even though—unlike here—the buyer had actual
                                                    17 knowledge of the warranty, invoked it 210 times, and expressly told its customers to
                                                    18 contact the manufacturer on its warranty. Twin Disc, 772 F.2d at 1334-35. Further,
                                                    19 the Ninth Circuit disregarded McKenzie as of “little precedential value because the
                                                    20 court provided no analysis to support its decision.” Diamond Fruit, 794 F.2d at 1444
                                                    21 n.6. Defendants cannot point to a single word or deed from Gyrodata that even
                                                    22 arguably indicates that Gyrodata assented to the limited warranty provisions of the
                                                    23 ST&Cs, much less any of the other provisions thereof.
                                                    24        Thus, Path #2 does not apply to P.O. 61010, 61121, 61420, 61706 and 61993.
                                                    25
                                                       acceptance of product is not assent.
                                                    26   43
                                                         Bowen and Craig Wireless stand for the unremarkable proposition that the parties’
                                                       course of performance under a contract can create fact issues concerning the meaning
                                                    27 of that contract. In our case, the determinative portions of the parties’ course of
                                                       performance under the T-100 contracts are undisputed and establish that Gyrodata did
                                                    28 not impliedly assent to the ST&Cs under the rationale of the Textile Unlimited,
                                                       Diamond Fruit, and Transwestern Pipeline decisions cited above.
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                                                     1 However, BAE/AIS and Gyrodata formed contracts by conduct per Path #3. They
                                                     2 consist of “those terms on which the writings of the parties agree, together with any
                                                     3 supplementary terms incorporated under any other provisions of this code.” CAL.
                                                     4 COMM. CODE § 2207(3). The ST&Cs are neither agreed written terms nor Uniform
                                                     5 Commercial Code “gap filler” provisions. They are therefore not part of the T-100
                                                     6 contracts between the parties. Consequently, the parts of the SACC and affirmative
                                                     7 defenses such as limitation of liability, setoff and unclean hands which are premised
                                                     8 on the ST&Cs fail as a matter of law, and summary judgment is thus appropriate.
                                                     9         DEFENDANTS' RESPONSE: DISPUTED ISSUES OF MATERIAL
                                                               FACT PRECLUDE SUMMARY JUDGMENT ON     WHETHER THE
                                                    10         ST&CS ARE PART OF THE T100 CONTRACT44
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                                                    11         Under the UCC, when acceptance of an offer is expressly made conditional on
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                                                    12 the offeror’s acceptance of additional terms, the additional terms become part of the
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                                                    13 contract if the offeror assents to them. CAL. COM. CODE 2-207(1). Although
                                                    14 Gyrodata implies that a counter-signature is required to establish assent, there is no
                                                    15 clear legal authority for Plaintiff's position where the material facts pertaining to
                                                    16 Plaintiff's assent are disputed.45 Courts have held that a party’s performance
                                                    17 pursuant to the additional terms constitutes express assent to them. Here, Gyrodata
                                                    18 performed according to and availed itself of the benefits of the ST&Cs. D274,
                                                    19 EA005, ¶18. For instance, Gyrodata took advantage of the warranty provisions
                                                    20
                                                         44
                                                          Contrary to Gyrodata’s Motion, AIS’s counterclaim and BAE’s “setoff” and
                                                    21 "unclean hands" defenses are not intertwined and are not based solely on the ST&Cs.
                                                       Although Gyrodata seeks dismissal of "all defenses," it does not identify which of
                                                    22 BAE's thirty-six defenses it seeks to dismiss, if any, besides setoff and unclean hands
                                                       defenses. As set forth below, Defendants' setoff and unclean hands defense are both
                                                    23 broader than the ST&Cs. Plaintiff cannot obtain dismissal of any other defenses
                                                       without identifying which ones it seeks to dismiss. Plaintiff's motion is also
                                                    24 procedurally improper -- pursuant to the Court's summary judgment order, Plaintiff
                                                       cannot "incorporate [its] SUF entries and proof in full" (Gyrodata's Br., fn 40) and
                                                    25 any alleged facts not specifically cited in the brief are deemed irrelevant.
                                                    26   45
                                                          The cases cited by Gyrodata are distinguishable. Here, Defendants dispute the
                                                       critical facts, see Opp. to P16-P30 and D274, EA005, ¶18. In both Diamond Fruit
                                                    27 Growers, 794 F.2d 1440 and Transwestern, 46 Cal. App. 4th 502, the Courts were not
                                                       deciding whether there were disputed facts on summary judgment. The courts in
                                                    28 Transwestern and Textile Unlimited expressly stated that facts pertinent to the
                                                       analysis were undisputed, which is not the case with respect to Gyrodata's motion.
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                                                     1 contained in the ST&Cs for several of the disputed purchase orders. Opposition to
                                                     2 P16-P30; D274, EA005, ¶18. The Seventh Circuit has held that such conduct
                                                     3 constitutes express acceptance of additional terms as a matter of law. Twin Disc, Inc.
                                                     4 v. Big Bud Tractor, Inc., 772 F.2d 1329, 1334-35 (7th Cir. 1985). Similarly,
                                                     5 Gyrodata utilized the Return Merchandise Authorization procedures in the ST&Cs
                                                     6 when submitting warranty returns, further indicating express acceptance of those
                                                     7 terms. D274, EA005, ¶18; see also McKenzie v. Alla-Ohio Coals, Inc., 1979 WL
                                                     8 30087 (D.D.C. 1979) (express assent to additional terms found when offeror
                                                     9 performed in accordance with additional terms).46 Under these circumstances, the
                                                    10 (disputed) question of whether Gyrodata assented to the additional terms by its
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                                                    11 conduct renders the issue inappropriate for resolution on summary judgment. State v.
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                                                    12 Bowen, 710 F. Supp. 739, 745 (E.D. Cal. 1989) (course of dealing over time entails
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                                                    13 factual questions regarding assent which defeat summary judgment); see also Craig
                                                    14 Wireless Sys. Ltd. v. Clearwire Legacy LLC, 2011 WL 4011415, at *11 (W.D. Wash.
                                                    15 2011).
                                                    16 II.     PLAINTIFF’S ISSUE B: NO “SEPARATE AGREEMENT” PROHIBITS
                                                               GYRODATA FROM REPAIRING OR MODIFYING T-100S
                                                    17
                                                    18         AIS tries to dodge the fact that the ST&Cs were never approved by alleging a
                                                    19 “separate” oral agreement requiring a license to repair or modify T-100s. SACC,
                                                    20 ¶ 42 (EA 473, p. 8206). Gyrodata never signed or agreed to any restriction on its
                                                    21 right to repair, modify or manufacture T-100s. Uttecht Decl., ¶ 9 (EA 11, p. 861);
                                                    22 Klopp Decl., ¶ 6 (EA 8, pp. 829-30; Brosnahan Decl., ¶ 2 (EA 3, p. 638). AIS
                                                    23 corporate representative Chris Holmes had “no knowledge” of any additional
                                                    24 agreement and could not identify any writing memorializing it.47 Holmes Tr.
                                                    25
                                                    26   46
                                                          Gyrodata’s claim that contractual limitation of liability is an affirmative defense
                                                       that must be pleaded is unsupported by California law. Taylor v. U.S., 821 F.2d 1428
                                                    27 (9th Cir. 1987), cert denied, 485 U.S. 992.
                                                       47
                                                          Holmes disclaimed knowledge of any separate agreement, did not join AIS until
                                                    28 2007, and his “rebuttal report” discusses industry standards rather than facts based on
                                                       personal knowledge showing an agreement by Gyrodata. FED. R. EVID. 602.
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                                                     1 (12/9/09), 157:24–158:6, 159:4-7, 160:3-8, 161:6-11. Art Siegel (BAE VP) conceded
                                                     2 “There is nothing today which prevents Gyrodata from repairing their own gyros and
                                                     3 selling them to anyone they please, or selling their failed gyros to a third party who
                                                     4 might repair and re-sell,” EA 418, pp. 7541-42, and agreed “there is really nothing to
                                                     5 stop Gyrodata from contracting with others to do these repairs” EA 417, pp. 7535-39.
                                                     6 AIS cannot create a fact issue by contradicting its 30(b)(6) designee, president, and
                                                     7 VP. Great American Ins. Co. of N.Y. v. Vegas Constr. Co., Inc., 251 F.R.D. 534 (D.
                                                     8 Nev. 2008); FED. R. CIV. P. 37(d). The response cites three written documents, but
                                                     9 none apply: the T70 contract does not mention T-100s or repairs, the price quote is
                                                    10 not an agreement approved by Gyrodata48, and Gyrodata is not a party to Golden’s
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                                                    11 nondisclosure agreement. None of the three purported contracts was pled by AIS or
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                                                    12 disclosed in interrogatory answers.49 The Court denied AIS leave to plead
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                                                    13 interference with Golden’s nondisclosure agreement, theft of trade secrets, or assert
                                                    14 other counterclaims. ECF No. 294.
                                                    15         DEFENDANTS’ RESPONSE: THREE OTHER CONTRACTS
                                                               CONSTRAIN PLAINTIFF’S ABILITY TO MODIFY T100S
                                                    16
                                                    17         Gyrodata’s contention that "no one from Gyrodata ever signed or agreed to any
                                                    18 restriction on Gyrodata's right to repair, modify or manufacture T100s" is incorrect.
                                                    19 The evidence shows that Gyrodata is manufacturing new T100s with IP that was
                                                    20 developed under the T70 contract. D224-D229, D264, EA471, p.8172-74; EA291,
                                                    21 p.5994. Gyrodata signed the T70 contract, which provides that AIS owns the T70 IP.
                                                    22 D180, EA 308, p.6149. Thus, AIS owns the IP with which Gyrodata is modifying
                                                    23 T100s, including the Cross-Leaf Suspension design. D264, D282-D283, EA __, p..
                                                    24 Gyrodata's argument relies on mischaracterizations of Mr. Siegel's email and Mr.
                                                    25
                                                    26   48
                                                         See infra Gyrodata’s Mot. regarding waiver.
                                                         49
                                                         AIS pled no counterclaim for breach of the T70 contract, Golden’s nondisclosure
                                                    27 agreement, or the price quote: paragraph 42 is limited by its terms to an agreement
                                                       “in connection with the sale of T100s” that was “initially oral.” See also EA 448, p.
                                                    28 7816 (AIS Answer to Interrog. No. 9) (describing “negotiations,” “understandings”
                                                       and “drafts” without citing any of the items argued in the response).
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                                                     1 Holmes' testimony (as Plaintiff completely ignores Mr. Holmes' expert opinions
                                                     2 offered in this matter). Id., see also Opposition to P45-46, P69.
                                                     3         In addition, by agreement, AIS’s sale of T100 repair parts to Gyrodata was
                                                     4 “strictly for purposes of Gyrodata repairing model T-100 gyros and does not
                                                     5 constitute . . . authorization to Gyrodata for the right to manufacture the model T100
                                                     6 gyro or the use of BAE Systems intellectual property related to the model T-100
                                                     7 gyro.” D256, EA 328, p.6220. Finally, Dan Golden, Gyrodata’s lead gyro engineer,
                                                     8 is a party to a non-disclosure agreement (“NDA”) that obligates him not to use
                                                     9 confidential information of AIS, including information pertaining to the T100 and
                                                    10 T70 IP. D213, EA 343, p. 6346. Mr. Golden was Gyrodata's source for obtaining the
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                                                    11 cross-leaf suspension design at issue. D214-D219, D221-D222, D263, EA 291,
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                                                    12 p.5991, 5995-97. Thus, Gyrodata's argument that there are no agreements
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                                                    13 specifically directed at limiting its ability to repair, modify or manufacture the T100s
                                                    14 it purchased is erroneous.
                                                    15 III.    PLAINTIFF’S ISSUE C: GYRODATA CANNOT BE SUED FOR
                                                               USING INTELLECTUAL PROPERTY IT OWNED
                                                    16
                                                    17         1.    The “Proprietary Information” Gyrodata allegedly used was created
                                                                     during the T70 design effort
                                                    18
                                                               Defendants claim that while working for BAE on the T70, Dan Golden was
                                                    19
                                                         involved in developing a “brazed” cross-leaf suspension. Gyrodata strongly disputes
                                                    20
                                                         that Golden used any BAE proprietary information for Gyrodata, but even assuming
                                                    21
                                                         arguendo that he did, Gyrodata had the right to use this data as a matter of law.
                                                    22
                                                         Under the T70 agreement, Gyrodata was entitled to all data created in the T70
                                                    23
                                                         program if BAE was unwilling or unable to manufacture the sensor. EA 308, pp.
                                                    24
                                                         6146-51.   All brazed cross-leaf suspension data was created as part of the T70
                                                    25
                                                         development. Golden Decl., ¶ 6 (EA 6, p. 705); P106.
                                                    26
                                                               2.    Gyrodata owned rights to the T70 program data, including the brazed
                                                    27               flexure design
                                                    28

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                                                     1         The two principal negotiators of the T70 contract agree: if BAE was unable or
                                                     2 unwilling to produce the T70, Gyrodata was licensed to use all technical drawings,
                                                     3 designs and specialized tooling needed to set up a T70 manufacturing facility.
                                                     4 Casparro Tr. (12/19/11), 172:1-12, 238:1-11, 248:6-15, 249:6–250:18; Uttecht Decl.,
                                                     5 ¶ 15 (EA 11, pp. 862-63); EA 308, p. 6149 at ¶ 5. BAE agreed with Gyrodata’s
                                                     6 interpretation of the contract in 2006 internal communications. EA 417, pp. 7535-
                                                     7 39.
                                                     8         BAE was unable to produce the sensor from 2006 on and unwilling from 2008
                                                     9 forward. Hanse Tr. (1/13/12), 211:16-23; Holmes Tr. (1/20/12), 63:12-21;
                                                    10 McDonough Tr. (12/22/09), 51:4-10; 303:19–304:4; EA 448, pp. 7801-26, Req.
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                                                    11 Admis. 16. A fact dispute can exist here only if Defendants are permitted to
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                                                    12 contradict their own clear testimony. Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262,
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                                                    13 266 (9th Cir. 1991). Gyrodata was entitled to use all technical drawings, dimensions
                                                    14 and specifications accumulated in the T70 process. EA 308, p. 6149 at ¶ 5; Casparro
                                                    15 Tr. (12/19/11), 249:11–250:18. BAE says that because it failed to “complete” the
                                                    16 sensor, no assignment is due, but when a party prevents or makes impossible a
                                                    17 condition precedent, the condition is excused. Jacobs v. Tenneco West, Inc., 186 Cal.
                                                    18 App. 3d 1413 (5th Dist. 1986). No “reasonable compensation” fact issue exists:
                                                    19 BAE’s right to a royalty was removed from the final T70 agreement, and
                                                    20 compensation was due only if manufacturing set up services were ordered. EA 103,
                                                    21 pp. 2367, 2369; Casparro Tr. (12/19/11), 251:25–253:25. The intellectual property
                                                    22 under paragraphs 4 and 5 of the agreement was identical. Casparro Tr. (12/19/11),
                                                    23 224:24–225:12, 228:13–229:10. Assignment of the intellectual property for “the
                                                    24 sensor” automatically conveys all trade secrets necessary for its operation, including
                                                    25 its suspension. Asset Mktg. Systems, Inc. v. Gagnon, 542 F.3d 748, 758 (9th Cir.
                                                    26 2008) (“Gagnon granted AMS an implied, unlimited license to the programs software
                                                    27 … AMS could not have misappropriated Gagnon’s trade secret. … the license
                                                    28 included access to any trade secret embodied therein.”).

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                                                     1         DEFENDANTS’ RESPONSE: GYRODATA NEVER OBTAINED
                                                               RIGHTS TO T70 IP
                                                     2
                                                     3         Gyrodata's argument that it was entitled to use all T70 IP if AIS stopped
                                                     4 working on the program is contrary to the plain language of the T70 contract and
                                                     5 overlooks key factual disputes, including testimony by Gyrodata’s own witnesses.
                                                     6 D180, D193, D248, D256, D285, D286, D287, EA 308, p.6149; Persico Tr. 1/04/12,
                                                     7 245:17-246:16; Golden Tr. 1/06/12, 129:10-131:8; Casparro Tr. 12/19/2011, 227:2-6.
                                                     8 The contract "retains" to AIS all IP "associated with the sensor to be developed
                                                     9 hereunder," and a license to Gyrodata is limited to "the manufacture, sale and use of
                                                    10 the sensor" only at "completion of the development program," upon payment of
                                                    11 mutually agreed "reasonable compensation." D180, EA 308, p.6149. First, there is a
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                                                    12 factual dispute over whether the development "program" was ever "completed," and
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                                                    13 if so, when and at whose instance. D285; Casparro Tr. 12/19/2011, 227:2-6. Thus, a
                                                    14 condition precedent to the grant of a license did not happen. Second, the cross-leaf
                                                    15 suspension design at issue is not the T70 sensor; it is associated with the sensor, but
                                                    16 Gyrodata's license (even were it to obtain such a license) was to be limited just to the
                                                    17 sensor. D286. Third, Gyrodata's contention that the license for all T70 IP takes
                                                    18 effect whenever the development program ends, regardless if the sensor is developed,
                                                    19 is nonsensical; how can Gyrodata's license to manufacture, sell and use "the sensor"
                                                    20 take effect if no sensor is ever developed? Fourth, the parties did not mutually agree
                                                    21 to reasonable compensation for a license, and Gyrodata did not pay for a license.
                                                    22 D207; Persico Tr. 1/04/12, 244:6-246:16; Uttecht Tr. 12/23/11, 261:3-17; Opp. to
                                                    23 P54. Finally, it is undisputed that Gyrodata was using IP in the "Alltech" suspension
                                                    24 in 2006, and that the T70 program continued until early 2008. D241, D245-D246,
                                                    25 EA 327, p. 6216-18; Golden Tr. 1/06/12, 265:20-266:8. Thus, even assuming
                                                    26 arguendo that Gyrodata is correct that the end of the T70 program in 2007 triggered
                                                    27 the license provision of the T70 contract, Gyrodata offers no theory that would permit
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                                                     1 it to use T70 IP in 2006.50
                                                     2 IV.    PLAINTIFF’S ISSUE D: EVEN IF “SELLER’S TERMS AND
                                                              CONDITIONS” APPLIED, THEY DO NOT LIMIT GYRODATA’S
                                                     3        RIGHT TO REPAIR, REPLACE OR MODIFY THE T-100
                                                     4        The Declaratory Judgment Act cannot be used to “declare” restrictions that do
                                                     5 not exist under the T-100 contracts themselves. Christ v. Beneficial Corp., 547 F.3d
                                                     6 1292, 1299 (11th Cir. 2008). The words “repair,” “modify,” “license fee” or “other
                                                     7 compensation” do not appear anywhere in the ST&Cs. P65-P68. BAE and AIS
                                                     8 conceded in internal emails and testimony that Gyrodata has the right to repair its T-
                                                     9 100 gyroscopes.     P71, P73, P74; EA 418, pp. 7541-42; EA 417, pp. 7535-39;
                                                    10 Hoffman Tr. (11/11/09), 129:8-20; Casparro (12/19/11) Tr., 277:1-25; Meltzner Tr.
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                                                    11 (1/28/10), 201:13-16.
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                                                    12        A purchaser owns the product and has the right to repair, replace component
                              SUITE 2100




                                                    13 parts and modify the product. Surfco Haw. v. Fin Control Sys. Pty, Ltd., 264 F.3d
                                                    14 1062 (Fed. Cir. 2001). The response claims patented items may not be re-
                                                    15 manufactured, but (1) the T-100 was never patented and (2) Gyrodata never
                                                    16 manufactured T-100s. Hoffman Tr. (11/11/09), 183:20–184:4; Brosnahan Decl., ¶¶
                                                    17 18, 22 (EA 3, pp. 643-44); Golden Decl., ¶¶ 3-5 (EA 6, pp. 703-05). Using
                                                    18 proprietary information to repair T-100s or modify parts does not violate the ST&Cs
                                                    19 as BAE wrote them. The “manufacturing” evidence AIS cites relates solely to MXY
                                                    20 development - not the T-100 gyro. AIS has no declaratory relief claim for MXYG
                                                    21 manufacture. AIS SACC (seeking declaratory relief for T-100 only); Golden Tr.
                                                    22 (5/7/2010), 12:20-23 (EA 466, p. 8009) (AIS counsel stated on the record there is no
                                                    23 claim proprietary information was used to develop the MXYG). Moreover, no
                                                    24 ST&Cs were sent for hundreds of T-100s sold to Gyrodata from 1988 to 2004. P32,
                                                    25 P107; Brosnahan Decl., ¶ 2 (EA 3, p. 638). By 2005, any Seller’s data pertaining to
                                                    26
                                                         50
                                                          Gyrodata's position that it was retroactively authorized to copy the suspension
                                                    27 design in secret in 2006 is unsupportable, especially since Gyrodata's own witnesses
                                                       admitted that AIS owned T70 IP at this point and that the designs at issue were
                                                    28 proprietary to AIS. Persico Tr. 1/04/12, 245:17-246:16; Golden Tr. 1/06/12, 129:10-
                                                       131:8.
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                                                     1 T-100 orders had been known for 15 years.
                                                     2         DEFENDANTS’ RESPONSE: THE ST&CS    LIMIT GYRODATA’S
                                                               RIGHT TO REPAIR OR MODIFY T100S 51
                                                     3
                                                     4         The ST&Cs provide that “Buyer agrees that it will not use Seller’s data for the
                                                     5 manufacture ... of products which are the subject of this Order or any similar
                                                     6 products, … or reproduce said data and information or otherwise appropriate them
                                                     7 without the written authorization of the Seller.” D278. Contrary to Gyrodata's
                                                     8 contention, whether or not Gyrodata has and is manufacturing T100s is disputed and
                                                     9 precludes summary judgment. See Opp. to P97, D201, D261, D264, D266; EA 242,
                                                    10 p. 4715. Defendant's experts have opined that AIS's proprietary data -- such as the
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                                                    11 mechanical design, calibration techniques, sealing and filling a gyro, and electronics -
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                                                    12 - is used to modify T100s and that Mr. Golden copied and used AIS's proprietary
                              SUITE 2100




                                                    13 suspension design in T100 modifications. D224-D228, D263, D288. While
                                                    14 Gyrodata alleges, without factual support, that AIS's T100 data, dimensions and
                                                    15 tolerances are not proprietary, AIS disputes this claim and proffers factual support
                                                    16 that this information is proprietary. EA ¶16, 32; Casparro Tr. 12/19/11, 179:8-20;
                                                    17 AIS v. New Condor Meltzner Tr. 66:11-67:24. The trier of fact must weigh these
                                                    18 disputes.
                                                    19         Gyrodata’s next contention – that T100s were sold without limitation into the
                                                    20 stream of commerce and could be reverse engineered - is academic. Gyrodata has
                                                    21 never asserted that it reverse-engineered more than two dimensions of the T100, a
                                                    22 highly complex instrument with many parts (D289), nor has it claimed that it received
                                                    23 any data regarding the T100 from some other buyer who purchased the item and then
                                                    24
                                                    25   51
                                                         Gyrodata misapplies the holding in Christ v. Beneficial Corp., 547 F.3d 1292 (11th
                                                       Cir. 2008). In Beneficial Corp., the Court overturned an award of $22 million in
                                                    26 restitution and disgorgement not because such fees can never be awarded under the
                                                       Declaratory Judgment Act, but because appellee conceded that it could not prove its
                                                    27 actual damages. Here, the matter is quite the opposite and, in any event, calculation
                                                       of AIS's damages for Gyrodata's misuse of proprietary information is not the matter
                                                    28 before the Court. See, e.g., Pandora Jewelers 1995, Inc. v. Pandora Jewelry, LLC,
                                                       2011 WL 915674 (S.D. Fla. 2011).
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                                                     1 legitimately reverse-engineered it. Id., Opp. to P99. To the contrary, Gyrodata’s
                                                     2 expertise with T100s originates with Dan Golden, who was previously employed by
                                                     3 BAE Inertial. D187-189, D192, D195, D214, D216-D217. The parties dispute
                                                     4 whether Mr. Golden reverse engineered, rather than copied, any dimensions of the
                                                     5 T100. D111.
                                                     6         Further, whether Gyrodata is actually "repairing," as opposed to manufacturing
                                                     7 and marketing enhanced T100s as if they were its own new gyros that it developed
                                                     8 and manufactured is also disputed. See Opp. to P97, D264, D266, EA 242, p. 4715.
                                                     9 Gyrodata has offered no evidence that its activities constitute repair as opposed to
                                                    10 Defendants' expert opinions that Gyrodata is actually remanufacturing T100s. (See
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                                                    11 id.) Summary Judgment is inappropriate under these circumstances.
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                                                    12         Gyrodata overstates the holding of Surfco Haw. v. Fin. Control Sys. Pty, Ltd.,
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                                                    13 264 F. 3d 1062 (Fed Cir. 2001). Surfco stands for the proposition that a purchaser of
                                                    14 a patented product can make repairs or modify the product unless (a) a condition of
                                                    15 the sale prevents repair/modification, or (b) the repair/modification is to the extent
                                                    16 that it makes the product a "new article" (i.e., "repair" of a patented product is
                                                    17 allowed but "reconstruction" is not). Id. at 1065. With respect to the T100s sold
                                                    18 subject to the ST&Cs, a condition of sale prevented the modification, and an issue of
                                                    19 fact is whether modification of the T100s with a new suspension is a “repair” or a
                                                    20 “reconstruction”. D278; EA 362, p. 6485.
                                                    21 V.      PLAINTIFF’S ISSUE E: AIS WAIVED ITS COUNTERCLAIM AND
                                                               OFFSET DEFENSES BY SELLING GYRODATA REPAIR PARTS
                                                    22
                                                    23         AIS sold Gyrodata parts for making repairs and now sues Gyrodata for making
                                                    24 those repairs. P139; SACC. AIS’s actions are so inconsistent with the right to
                                                    25 preclude repairs as to induce a reasonable belief that such right has been relinquished.
                                                    26 See, e.g., Ganley v. Cnty. of San Mateo, No. C06-3923 TEH, 2007 WL 4554318, at
                                                    27 *12 (N.D. Cal. Dec. 20, 2007). Waiver does not require perfect knowledge, only
                                                    28 sufficient awareness of the circumstances and consequences of one’s actions. In re

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                                                     1 Acosta, 182 B.R. 561, 566 (N.D. Cal. 1994).
                                                     2        BAE/AIS conceded that “there is nothing today that prevents Gyrodata from
                                                     3 repairing their own gyros ….” EA 417-18, pp. 7535-42; EA 451, pp. 7834-35. They
                                                     4 were right. Surfco, 264 F.3d at 1065-66. In March 2007, Gyrodata told BAE’s
                                                     5 Art Siegel it had developed a new suspension and invited BAE to study it. Klopp
                                                     6 Decl., ¶ 10 (EA 11, p. 861). In April 2007, BAE “suspect[ed] that Gyrodata/ALL
                                                     7 TECH are using BAE drawings and/or IP” for a suspension and wondered “[s]hould
                                                     8 this be pursued legally and if so[,] how?” EA 451, pp. 7835. On May 23, 2007, four
                                                     9 BAE employees visited Alltech and then Gyrodata and were handed the suspension,
                                                    10 along with a test sheet for it. Brosnahan Decl., ¶¶ 4, 7 (EA 3, pp. 638-39); Golden
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                                                    11 Decl., ¶¶ 11-12 (EA 6, pp. 706-07), Uttecht Decl., ¶¶ 19-22 (EA 11, 864-66). Gerber
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                                                    12 “couldn’t believe how similar it looked to the flexures that we were involved with.”
                              SUITE 2100




                                                    13 Gerber Tr. (12/3/09), 84:17-20, 85:6–87:2; see EA 449, p. 7828. BAE believed the
                                                    14 Alltech suspension “had some features of our current suspension coupled with new
                                                    15 design ideas which had some similarity to our newly designed T70 suspension” and
                                                    16 Gyrodata was repairing T-100s with it. EA 449, p. 7828. BAE took two months to
                                                    17 consider its options and consulted counsel at least eight times before making a
                                                    18 decision. Compare, EA 449, p. 7828, with EA 510, pp. 8908-10, and EA 328, pp.
                                                    19 6220-21.     Art Siegel, BAE’s highest officer, decided to sell Gyrodata T-100
                                                    20 replacement parts, knowing they would be used to repair T-100 gyroscopes, but put a
                                                    21 high markup on them to compensate itself for the intellectual property. P130; Gerber
                                                    22 Tr. (12/3/09), 101:5-23, 102:11-16; Brosnahan Decl., ¶ 15, Ex. 4 (EA 3, pp. 641-42,
                                                    23 655-56); see, e.g., EA 401, p. 7386. BAE sold Gyrodata hundreds of repair parts.
                                                    24 Brosnahan Decl., ¶ 15 (EA 3, pp. 641-42).       Gyrodata advised AIS that it was
                                                    25 repairing T-100s with the Alltech suspension, sent it a T-100 with an Alltech
                                                    26 suspension and urged it to use the suspension in future T-100 orders. Uttecht Decl.,
                                                    27 ¶¶ 22-23 (EA 11, pp. 866-67); Klopp Decl., ¶¶ 13-14 (EA 8, pp. 832-33); Brosnahan
                                                    28 Decl., ¶¶ 5, 8, 13, 15 (EA 3, pp. 639-40, 641-42); Golden Decl., ¶¶ 10-12 (EA 6, pp.

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                                                     1 706-07). BAE continued the sales through 2008 after acquiring this knowledge, and
                                                     2 Gerber admitted that BAE had “condoned” Gyrodata’s repair activities. EA 426, p.
                                                     3 7594. AIS’s own pleadings admit it “granted Gyrodata a limited license to repair T-
                                                     4 100s ….” SACC, ¶ 42 (EA 473, p. 8206).
                                                     5         Defendants cannot circumvent the absence of properly pled affirmative claims
                                                     6 with an unclean hands defense.        Gyrodata cannot have unclean hands for non-
                                                     7 disclosure when it literally placed the suspension into BAE’s hands twice. It is
                                                     8 Defendants whose hands are sullied. They confessed that they intended to “build a
                                                     9 case” by encouraging repairs but decided to “hold off for now to protect ourselves
                                                    10 from any potential legal action [a Gyrodata T70 breach claim].” EA 451, pp. 7834-
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                                                    11 35. The alleged bad conduct was known by BAE before it decided to sell Gyrodata
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                                                    12 repair parts and consisted of Gyrodata using intellectual property it owns.
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                                                    13         Defendants’ “restriction” arguments also fail. BAE permitted the parts to be
                                                    14 used “for repairing T-100 Gyroscopes,” which is exactly how they were used.
                                                    15 Golden Decl., ¶¶ 16-17 (EA 6, p. 708). Defendants sold Gyrodata dinner; they
                                                    16 cannot complain that Gyrodata ate it. If the language is so read, it renders the entire
                                                    17 repair parts sale useless. Brosnahan Decl., ¶ 16 (EA 3, pp. 6-7); Golden Decl., ¶ 17
                                                    18 (EA 6, p. 708). After the alleged restrictions were expressed in a price quote, the
                                                    19 parties formed contracts for the sale of T-100 repair parts in the same way they did
                                                    20 for the sale of T-100s. Gyrodata issued a purchase order containing no restrictions on
                                                    21 use of the repair parts and BAE/AIS signed it but attempted to expressly conditioned
                                                    22 its acceptance on Gyrodata's assent to BAE/AIS' ST&Cs. See, e.g., EA 185, pp.
                                                    23 3248, 3246. Just as with the T-100 orders, Gyrodata gave no such consent.
                                                    24 Brosnahan Decl., ¶ 16 (EA 3, pp. 6-7). Thus, with respect to the repair parts order,
                                                    25 like the T-100 orders, restrictive provisions proposed earlier by BAE/AIS never
                                                    26 became part of the contracts. See supra, Plaintiff’s Motion No. 1.
                                                    27         DEFENDANTS’ RESPONSE
                                                    28         1.    There Is No Waiver of the Counterclaim

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                                                     1         Material factual issues require denial of Gyrodata's claim that AIS waived its
                                                     2 counterclaim and offset defense by consenting to Gyrodata’s repair of T100s, and by
                                                     3 supplying repair parts. AIS’s sale of replacement parts was made subject to an
                                                     4 express restriction on Gyrodata’s ability to use AIS IP and precluded Gyrodata from
                                                     5 manufacturing T100s. (D256, EA185, pp. 3246-55, EA328, p. 6220). More directly,
                                                     6 waiver requires an intentional relinquishment of a known right. See Old Republic
                                                     7 Ins. Co. v. FSR Brokerage, Inc., 80 Cal.App.4th 666, 680 (2000). Gyrodata has not
                                                     8 presented evidence that AIS knew that Gyrodata was using the suspension copied
                                                     9 from AIS IP, which AIS only learned after Gyrodata sued it and produced the
                                                    10 drawings in discovery. (D267, Gerber Decl. ¶¶23-25, 28, EA5, pp. 697-99; Mariani
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                                                    11 Decl. ¶¶2-3, EA9, p. 852). Whether Gyrodata is repairing as opposed to
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                                                    12 manufacturing T100s that it markets as new sensors is also disputed. In fact, had AIS
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                                                    13 known that Gyrodata contracted with New Condor to "modify" T100s with AIS'
                                                    14 suspension design, it would not have consented to sell Gyrodata "repair" parts.
                                                    15 (D296, EA5, p. 694).
                                                    16         2.    Factual Issues Regarding Plaintiff's Unclean Hands
                                                    17         Gyrodata's motion must fail because triable issues exist as to whether Gyrodata
                                                    18 has unclean hands preventing all of its claims. Kendall-Jackson Winery, Ltd. v.
                                                    19 Superior Court, 76 Cal. App. 4th 970, 978-79 (1999) (unclean hands doctrine applies
                                                    20 to bar fraud and contract claims, especially where misconduct is intertwined with
                                                    21 claimed injuries); see also Unilogic v. Burroughs Corp., 10 Cal. App. 4th 612, 621
                                                    22 (1993); Dollar Systems, Inc. v. Avcar Leasing Systems, Inc., 890 F.2d 165 (9th Cir.
                                                    23 1989). During the T70 development years, 2006-2008, Gyrodata, secretly and
                                                    24 without authorization, copied the T70 suspension design that BAE Inertial was
                                                    25 attempting to manufacture for the T70, both to modify its T100 gyros and then to
                                                    26 manufacture its own T70 like gyro. (D180-D185, D193-D194, D215-D217, D224-
                                                    27 D229, D230-D253, D263-266, EA291, pp. 6019-31, 5992-7; EA263, pp. 5170-8;
                                                    28 EA5, pp. 694-700, EA318, p. 6188). Weeks after joining Gyrodata in 2006, Mr.

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                                                     1 Golden secretly engaged a company called Alltech to make suspensions for
                                                     2 Gyrodata's T100 gyro "modifications" based on a copy of BAE Inertial's design.
                                                     3 D216-D218, Golden Tr. 5/7/10, 277:13-20; Golden Tr. 1/06/12, 240:12-247:17. The
                                                     4 design drawings for Gyrodata's "Alltech" suspension are visually identical to BAE
                                                     5 Inertial's T70 design (see D224, EA471, pp. 8172-4), and expert analysis shows that
                                                     6 the dimensions are also substantially identical. (D226-229, EA291, p. 5992-97).52 It
                                                     7 was not until May 2007 that AIS learned that Gyrodata was manufacturing Alltech
                                                     8 suspensions. But Gyrodata then misled AIS by representing that the Alltech
                                                     9 suspension was "independently developed by Gyrodata." See Opp. to P129. 53
                                                    10 Gyrodata also misrepresented that it would not manufacture any gyros on its own,
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                                                    11 and said that it would provide the Alltech design to Defendants for inspection.
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                                                    12 (D248, D253, EA1, p. 3-4). Gyrodata cannot dispute that it withheld the Alltech
                              SUITE 2100




                                                    13 suspension design drawings in 2007 and 2008. Its own documents show that it did
                                                    14 enter into the gyro manufacturing business on its own. (D255, D259-260, D264-
                                                    15 D266, EA259, p. 5147). Gyrodata has "modified" hundreds of T100 gyros with
                                                    16 Alltech suspensions and markets them as the "new ruggedized sensor" it developed
                                                    17 and manufactured and has also used a smaller version of the design in its
                                                    18 "MXY/GWD70"), installing it in Litton's G-2000 gyros (D264, D297, EA518, p.
                                                    19 8948), profiting over $64 million from these activities -- all the subject of
                                                    20 Defendants' unclean hands defense. (Id; see also D264-D266). These facts preclude
                                                    21 summary judgment on Plaintiff's motion.
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                                                            Golden described his secret activities as "fiendishly clever" and "deviously sleazy",
                                                         and Uttecht wrote "what did the buzzard…say…? Patience my ass, let's kill
                                                    25   something". (D279-280, EA516, p. 8923, EA517, p. 8926). Golden's self-serving
                                                         declaration in opposition that he did not misuse any IP is insufficient to overcome the
                                                    26   clear evidence of misuse of IP presented by Defendants’ experts. (D226-228).
                                                         53
                                                            “Even where no duty to disclose would otherwise exist, where one does speak he
                                                    27   must speak the whole truth to the end that he does not conceal any facts which
                                                         materially qualify those stated." Hynix Semiconductor Inc. v.Rambus Inc., 441 F.
                                                    28   Supp. 2d 1066, 1076-77 (N.D. Cal. 2006) (quotation omitted); see also Lingsch v.
                                                         Savage, 29 Cal. Rptr. 201, 213 Cal. App. 2d 729 (1963); Cal. Civ. Code § 1710.
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                                                     1             PLAINTIFF’S FURTHER RESPONSE: VIOLATION OF PAGE
                                                     2                       LIMITS AND BRIEFING AGREEMENTS
                                                     3         Gyrodata also objects to Defendants’ failure to follow court-ordered briefing
                                                     4 protocol. The Court allowed each side 30 pages and warned that circumvention of
                                                     5 page limits or failure to cooperate would cause the motions to be stricken and denied.
                                                     6 ECF No. 423. Defendants ignored the warning, using 33 footnotes (7-1/2 pages
                                                     7 double-spaced) to gain a nearly four-page extension. EA 503, p. 8782-90. BAE is a
                                                     8 repeat offender. EA 504, p. 8791-94. The parties agreed to exchange draft motions
                                                     9 and responses on March 12 and April 9, final moving papers on April 19, and final
                                                    10 oppositions on April 25. EA 505, p. 8795-00; EA 506, p. 8801-06; EA 507, p. 8807-
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                                                    11 18. But, one week after final moving papers were due, Defendants made hundreds of
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                                                    12 changes, including new arguments, legal citations, and evidence. EA 508, p. 8819-
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                                                    13 66. Plaintiff objected; AIS made modest changes to attempt compliance, but BAE
                                                    14 continues to add new argument and proof up to and including the day before filing,
                                                    15 for which no response is possible. Id.; EA 509, p. 8867-07. Gyrodata moves that all
                                                    16 of BAE’s motions (3, 7-9) be stricken. ECF No. 423.
                                                    17                   RESPONSE TO GYRODATA'S MOTION TO STRIKE
                                                    18         Plaintiff has attempted, just minutes before this joint brief has to be filed, to
                                                    19 insert an application to strike Defendants' motions. Plaintiff’s statements are
                                                    20 misleading and incorrect. Defendants have not had an opportunity to respond, will
                                                    21 respond if and when appropriate, and ask the court to disregard Gyrodata's motion.
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